Case 3:22-cv-00403-CWR-LGI Document 1-1

Filed 07/15/22 Page1of57

COMMERCIAL GENERAL LIABILITY
CG 00 01 04 13

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

Various provisions in this policy restrict coverage.
Read the entire policy carefully to determine rights,
duties and what is and is not covered.

Throughout this policy the words "you" and "your"
refer to the Named Insured shown in the Declarations,
and any other person or organization qualifying as a
Named Insured under this policy. The words "we",
"us" and "our" refer to the company providing this
insurance.

The word "insured" means any person or organization
qualifying as such under Section II — Who Is An
Insured.

Other words and phrases that appear in quotation
marks have special meaning. Refer to Section V —
Definitions.

SECTION I - COVERAGES

COVERAGE A - BODILY INJURY AND PROPERTY
DAMAGE LIABILITY

1. Insuring Agreement

a. We will pay those sums that the insured
becomes legally obligated to pay as damages
because of "bodily injury" or "property damage"
to which this insurance applies. We will have
the right and duty to defend the insured against
any "suit" seeking those damages. However,
we will have no duty to defend the insured
against any "suit" seeking damages for "bodily
injury” or “property damage” to which this
insurance does not apply. We may, at our
discretion, investigate any “occurrence” and
settle any claim or "suit" that may result. But:

(1) The amount we will pay for damages is
limited as described in Section III — Limits
Of Insurance; and

(2) Our right and duty to defend ends when we
have used up the applicable limit of
insurance in the payment of judgments or
settlements under Coverages A or B or
medical expenses under Coverage C.

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under Supplementary
Payments — Coverages A and B.

b. This insurance applies to "bodily injury" and
"property damage" only if:

(1) The "bodily injury” or "property damage" is
caused by an “occurrence” that takes place
in the "coverage territory";

CG 00 01 04 13

© Insurance Services Office, Inc., 2012

(2) The "bodily injury" or "property damage"
occurs during the policy period; and

(3) Prior to the policy period, no insured listed
under Paragraph 1. of Section II — Who Is
An Insured and no “employee” authorized
by you to give or receive notice of an
"occurrence" or claim, knew that the "bodily
injury" or "property damage" had occurred,
in whole or in part. If such a listed insured
or authorized "employee" knew, prior to the
policy period, that the "bodily injury" or
"property damage” occurred, then any
continuation, change or resumption of such
"bodily injury" or "property damage" during
or after the policy period will be deemed to
have been known prior to the policy period.

c. "Bodily injury” or “property damage” which

occurs during the policy period and was not,
prior to the policy period, known to have
occurred by any insured listed under
Paragraph 1. of Section II — Who Is An Insured
or any “employee” authorized by you to give or
receive notice of an “occurrence” or claim,
includes any continuation, change or
resumption of that "bodily injury" or "property
damage" after the end of the policy period.

. "Bodily injury" or "property damage" will be

deemed to have been known to have occurred
at the earliest time when any insured listed
under Paragraph 1. of Section II — Who Is An
Insured or any "employee" authorized by you to
give or receive notice of an “occurrence” or
claim:

(1) Reports all, or any part, of the "bodily injury"
or "property damage” to us or any other
insurer;

(2) Receives a written or verbal demand or
claim for damages because of the "bodily
injury" or "property damage"; or

(3) Becomes aware by any other means that
"bodily injury" or "property damage” has
occurred or has begun to occur.

e. Damages because of "bodily injury” include

damages claimed by any _ person. or
organization for care, loss of services or death
resulting at any time from the “bodily injury”.

Page 1 of 16
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 2 of 57

CG 00 01 04 13

2. Exclusions
This insurance does not apply to:
a. Expected Or Intended Injury

This exclusion applies even if the claims
against any insured allege negligence or other
wrongdoing in:

Page 2 of 16

"Bodily injury" or "property damage” expected
or intended from the standpoint of the insured.
This exclusion does not apply to “bodily injury"
resulting from the use of reasonable force to
protect persons or property.

. Contractual Liability

"Bodily injury" or "property damage” for which
the insured is obligated to pay damages by
reason of the assumption of liability in a
contract or agreement. This exclusion does not
apply to liability for damages:

(1) That the insured would have in the absence
of the contract or agreement; or

(2) Assumed in a contract or agreement that is
an "insured contract", provided the "bodily
injury" or “property damage" occurs
subsequent to the execution of the contract
or agreement. Solely for the purposes of
liability assumed in an "insured contract",
reasonable attorneys’ fees and necessary
litigation expenses incurred by or for a party
other than an insured are deemed to be
damages because of "bodily injury" or
“property damage”, provided:

(a) Liability to such party for, or for the cost
of, that party's defense has also been
assumed in the same "insured contract";
and

(b) Such attorneys’ fees and_ litigation
expenses are for defense of that party
against a civil or alternative dispute
resolution proceeding in which damages
to which this insurance applies are
alleged.

c. Liquor Liability

"Bodily injury" or "property damage” for which

any insured may be held liable by reason of:

(1) Causing or contributing to the intoxication of
any person;

(2) The furnishing of alcoholic beverages to a
person under the legal drinking age or
under the influence of alcohol; or

(3) Any statute, ordinance or regulation relating
to the sale, gift, distribution or use of
alcoholic beverages.

© Insurance Services Office, Inc., 2012

(a) The supervision, hiring, employment,
training or monitoring of others by that
insured; or

(b) Providing or failing to provide
transportation with respect to any
person that may be under the influence
of alcohol:

if the "occurrence" which caused the "bodily
injury” or “property damage", involved that
which is described in Paragraph (1), (2) or (3)
above.

However, this exclusion applies only if you are
in the business of manufacturing, distributing,
selling, serving or _ furnishing alcoholic
beverages. For the purposes of this exclusion,
permitting a person to bring alcoholic
beverages on your premises, for consumption
on your premises, whether or not a fee is
charged or a license is required for such
activity, is not by itself considered the business
of selling, serving or furnishing alcoholic
beverages.

. Workers’ Compensation And Similar Laws

Any obligation of the insured under a workers'
compensation, disability benefits or
unemployment compensation law or any
similar law.

e. Employer's Liability

"Bodily injury" to:
(1) An "employee" of the insured arising out of
and in the course of:

(a) Employment by the insured; or

(b) Performing duties related to the conduct
of the insured's business; or

(2) The spouse, child, parent, brother or sister
of that "employee" as a consequence of
Paragraph (1) above.

This exclusion applies whether the insured
may be liable as an employer or in any other
capacity and to any obligation to share
damages with or repay someone else who
must pay damages because of the injury.

This exclusion does not apply to liability
assumed by the insured under an "insured
contract".

CG 00 01 04 13
Case 3:22-cv-00403-CWR-LGI

f. Pollution
(1) "Bodily injury" or "property damage” arising
out of the actual, alleged or threatened
discharge, dispersal, seepage, migration,
release or escape of "pollutants":

(a) At or from any premises, site or location

(b)

(c)

CG 00 01 04 13

which is or was at any time owned or

occupied by, or rented or loaned to, any

insured. However, this subparagraph
does not apply to:

(1) “Bodily injury" if sustained within a
building and caused by smoke,
fumes, vapor or soot produced by or
originating from equipment that is
used to heat, cool or dehumidify the
building, or equipment that is used to
heat water for personal use, by the
building's occupants or their guests;

(ii) "Bodily injury" or "property damage"
for which you may be held liable, if
you are a contractor and the owner
or lessee of such premises, site or
location has been added to your
policy as an additional insured with
respect to your ongoing operations
performed for that additional insured
at that premises, site or location and
such premises, site or location is not
and never was owned or occupied
by, or rented or loaned to, any
insured, other than that additional
insured; or

(ili) "Bodily injury” or "property damage"
arising out of heat, smoke or fumes
from a “hostile fire";

At or from any premises, site or location
which is or was at any time used by or
for any insured or others for the
handling, storage, disposal, processing
or treatment of waste;

Which are or were at any time
transported, handled, stored, treated,
disposed of, or processed as waste by
or for:

(i) Any insured; or
(ii) Any person or organization for whom
you may be legally responsible; or

Document 1-1

© Insurance Services Office, Inc., 2012

Filed 07/15/22 Page 3of 57

CG 00 01 04 13

(d) At or from any premises, site or location

on which any insured or any contractors
or subcontractors working directly or
indirectly on any insured'’s behalf are
performing operations if the "pollutants"
are brought on or to the premises, site
or location in connection with such
operations by such insured, contractor
or subcontractor. However, _ this
subparagraph does not apply to:

(i) "Bodily injury” or "property damage"
arising out of the escape of fuels,
lubricants or other operating fluids
which are needed to perform the
normal electrical, hydraulic or
mechanical functions necessary for
the operation of "mobile equipment"
or its parts, if such fuels, lubricants
or other operating fluids escape from
a vehicle part designed to hold, store
or receive them. This exception does
not apply if the "bodily injury" or
"property damage" arises out of the
intentional discharge, dispersal or
release of the fuels, lubricants or
other operating fluids, or if such
fuels, lubricants or other operating
fluids are brought on or to the
premises, site or location with the
intent that they be discharged,
dispersed or released as part of the
operations being performed by such
insured, contractor or subcontractor;

(ii) "Bodily injury” or "property damage"
sustained within a building and
caused by the release of gases,
fumes or vapors from materials
brought into that building in
connection with operations being
performed by you or on your behalf
by a contractor or subcontractor; or

(iii) "Bodily injury” or "property damage"
arising out of heat, smoke or fumes
from a "hostile fire”.

(e) At or from any premises, site or location

on which any insured or any contractors
or subcontractors working directly or
indirectly on any insured's behalf are
performing operations if the operations
are to test for, monitor, clean up,
remove, contain, treat, detoxify or
neutralize, or in any way respond to, or
assess the effects of, “pollutants”.

Page 3 of 16
Page 4 of 16

Case 3:22-cv-00403-CWR-LGI Document 1-1

CG 00 01 04 13

(2) Any loss, cost or expense arising out of
any:

(a) Request, demand, order or statutory or
regulatory requirement that any insured
or others test for, monitor, clean up,
remove, contain, treat, detoxify or
neutralize, or in any way respond to, or
assess the effects of, "pollutants"; or

(b) Claim or suit by or on behalf of a
governmental authority for damages
because of testing for, monitoring,
cleaning up, removing, containing,
treating, detoxifying or neutralizing, or in
any way responding to, or assessing the
effects of, "pollutants".

However, this paragraph does not apply to
liability for damages because of "property
damage" that the insured would have in the
absence of such request, demand, order or
statutory or regulatory requirement, or such
claim or "suit" by or on behalf of a
governmental authority.

g. Aircraft, Auto Or Watercraft

"Bodily injury" or "property damage” arising out
of the ownership, maintenance, use or
entrustment to others of any aircraft, "auto" or
watercraft owned or operated by or rented or
loaned to any insured. Use includes operation
and "loading or unloading”.

This exclusion applies even if the claims
against any insured allege negligence or other
wrongdoing in the supervision, hiring,
employment, training or monitoring of others by
that insured, if the "occurrence" which caused
the "bodily injury" or "property damage"
involved the ownership, maintenance, use or
entrustment to others of any aircraft, "auto" or
watercraft that is owned or operated by or
rented or loaned to any insured.

This exclusion does not apply to:

(1) A watercraft while ashore on premises you
own or rent;

(2) A watercraft you do not own that is:

(a) Less than 26 feet long; and
(b) Not being used to carry persons or
property for a charge;

(3) Parking an "auto" on, or on the ways next
to, premises you own or rent, provided the
"auto" is not owned by or rented or loaned
to you or the insured;

(4) Liability assumed under any "insured
contract" for the ownership, maintenance or
use of aircraft or watercraft; or

© Insurance Services Office, Inc., 2012

Filed 07/15/22 Page 4of57

(5) "Bodily injury" or "property damage” arising
out of:
(a) The operation of machinery’ or
equipment that is attached to, or part of,
a land vehicle that would qualify under
the definition of "mobile equipment” if it
were not subject to a compulsory or
financial responsibility law or other
motor vehicle insurance law where it is
licensed or principally garaged; or

(b) The operation of any of the machinery
or equipment listed in Paragraph f.(2) or
#.(3) of the definition of "mobile
equipment”.

h. Mobile Equipment

"Bodily injury" or "property damage” arising out

of:

(1) The transportation of "mobile equipment” by
an "auto" owned or operated by or rented or
loaned to any insured; or

(2) The use of "mobile equipment" in, or while
in practice for, or while being prepared for,
any prearranged racing, speed, demolition,
or stunting activity.

i. War

"Bodily injury" or "property damage", however
caused, arising, directly or indirectly, out of:
(1) War, including undeclared or civil war;

(2) Warlike action by a military force, including
action in hindering or defending against an
actual or expected attack, by any
government, sovereign or other authority
using military personnel or other agents; or

(3) Insurrection, rebellion, revolution, usurped
power, or action taken by governmental
authority in hindering or defending against
any of these.

j. Damage To Property

"Property damage" to:

(1) Property you own, rent, or occupy, including
any costs or expenses incurred by you, or
any other person, organization or entity, for
repair, replacement, enhancement,
restoration or maintenance of such property
for any reason, including prevention of
injury to a person or damage to another's
property;

(2) Premises you sell, give away or abandon, if
the "property damage” arises out of any
part of those premises;

(3) Property loaned to you;

CG 00 01 04 13
CG 00 01 04 13

Case 3:22-cv-00403-CWR-LGI Document 1-1

(4) Personal property in the care, custody or
control of the insured;

(5) That particular part of real property on
which you or any contractors or
subcontractors working directly or indirectly
on your behalf are performing operations, if
the "property damage" arises out of those
operations; or

(6) That particular part of any property that
must be restored, repaired or replaced
because "your work" was _ incorrectly
performed on it.

Paragraphs (1), (3) and (4) of this exclusion do
not apply to "property damage" (other than
damage by fire) to premises, including the
contents of such premises, rented to you for a
period of seven or fewer consecutive days. A
separate limit of insurance applies to Damage
To Premises Rented To You as described in
Section Ill — Limits Of Insurance.

Paragraph (2) of this exclusion does not apply
if the premises are "your work" and were never
occupied, rented or held for rental by you.
Paragraphs (3), (4), (5) and (6) of this
exclusion do not apply to liability assumed
under a sidetrack agreement.

Paragraph (6) of this exclusion does not apply
to "property damage” included in the "products-
completed operations hazard”.

. Damage To Your Product

"Property damage” to "your product” arising out
of it or any part of it.

. Damage To Your Work

"Property damage" to "your work" arising out of
it or any part of it and included in the "products-
completed operations hazard”.

This exclusion does not apply if the damaged
work or the work out of which the damage
arises was performed on your behalf by a
subcontractor.

. Damage To Impaired Property Or Property
Not Physically Injured

"Property damage” to "impaired property” or
property that has not been physically injured,
arising out of:

(1) A defect, deficiency, inadequacy or
dangerous condition in "your product" or
"your work"; or

(2) A delay or failure by you or anyone acting
on your behalf to perform a contract or
agreement in accordance with its terms.

© Insurance Services Office, Inc., 2012

Filed 07/15/22 Page5of57

CG 00 01 04 13

This exclusion does not apply to the loss of use
of other property arising out of sudden and
accidental physical injury to "your product" or
"your work" after it has been put to its intended
use.

. Recall Of Products, Work Or Impaired

Property

Damages claimed for any loss, cost or
expense incurred by you or others for the loss
of use, withdrawal, recall, inspection, repair,
replacement, adjustment, removal or disposal
of:

(1) "Your product";

(2) "Your work"; or

(3) "Impaired property";

if such product, work, or property is withdrawn
or recalled from the market or from use by any
person or organization because of a known or

suspected defect, deficiency, inadequacy or
dangerous condition in it.

. Personal And Advertising Injury

"Bodily injury" arising out of "personal and
advertising injury”.

. Electronic Data

Damages arising out of the loss of, loss of use
of, damage to, corruption of, inability to access,
or inability to manipulate electronic data.

However, this exclusion does not apply to
liability for damages because of "bodily injury”.

As used in this exclusion, electronic data
means information, facts or programs stored as
or on, created or used on, or transmitted to or
from computer software, including systems and
applications software, hard or floppy disks, CD-
ROMs, tapes, drives, cells, data processing
devices or any other media which are used
with electronically controlled equipment.

. Recording And Distribution Of Material Or

Information In Violation Of Law

"Bodily injury" or "property damage” arising

directly or indirectly out of any action or

omission that violates or is alleged to violate:

(1) The Telephone Consumer Protection Act
(TCPA), including any amendment of or
addition to such law;

(2) The CAN-SPAM Act of 2003, including any
amendment of or addition to such law;

(3) The Fair Credit Reporting Act (FCRA), and
any amendment of or addition to such law,
including the Fair and Accurate Credit
Transactions Act (FACTA); or

Page 5 of 16
Case 3:22-cv-00403-CWR-LGI Document 1-1

CG 00 01 04 13

Filed 07/15/22 Page 6of57

(4) Any federal, state or local statute, 2. Exclusions
ordinance or regulation, other than the This insurance does not apply to:

TCPA, CAN-SPAM Act of 2003 or FCRA
and their amendments and additions, that
addresses, prohibits, or limits the printing,
dissemination, disposal, collecting,
recording, sending, transmitting,
communicating or distribution of material or
information.

Exclusions c. through n. do not apply to damage b.
by fire to premises while rented to you or
temporarily occupied by you with permission of the

owner. A separate limit of insurance applies to this

coverage as described in Section Ill — Limits Of
Insurance.

COVERAGE B — PERSONAL AND ADVERTISING Cc.
INJURY LIABILITY

1. Insuring Agreement

a. We will pay those sums that the insured
becomes legally obligated to pay as damages
because of "personal and advertising injury” to d
which this insurance applies. We will have the
right and duty to defend the insured against
any "suit" seeking those damages. However,
we will have no duty to defend the insured
against any "suit" seeking damages for
"personal and advertising injury” to which this
insurance does not apply. We may, at our
discretion, investigate any offense and settle
any claim or "suit" that may result. But:

(1) The amount we will pay for damages is
limited as described in Section Ill — Limits
Of Insurance; and f.

(2) Our right and duty to defend end when we
have used up the applicable limit of
insurance in the payment of judgments or
settlements under Coverages A or B or
medical expenses under Coverage C. g

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under Supplementary
Payments — Coverages A and B.

b. This insurance applies to "personal and
advertising injury” caused by an offense arising h
out of your business but only if the offense was
committed in the "coverage territory" during the
policy period.

Page 6 of 16 © Insurance Services Office,

Knowing Violation Of Rights Of Another

"Personal and advertising injury" caused by or
at the direction of the insured with the
knowledge that the act would violate the rights
of another and would inflict "personal and
advertising injury”.

Material Published With Knowledge Of
Falsity

"Personal and advertising injury" arising out of
oral or written publication, in any manner, of
material, if done by or at the direction of the
insured with knowledge of its falsity.

Material Published Prior To Policy Period
"Personal and advertising injury" arising out of
oral or written publication, in any manner, of
material whose first publication took place
before the beginning of the policy period.

. Criminal Acts

"Personal and advertising injury" arising out of
a criminal act committed by or at the direction
of the insured.

Contractual Liability

"Personal and advertising injury" for which the
insured has assumed liability in a contract or
agreement. This exclusion does not apply to
liability for damages that the insured would
have in the absence of the contract or
agreement.

Breach Of Contract

"Personal and advertising injury" arising out of
a breach of contract, except an implied

contract to use another's advertising idea in
your "advertisement".

. Quality Or Performance Of Goods - Failure

To Conform To Statements

"Personal and advertising injury" arising out of
the failure of goods, products or services to
conform with any statement of quality or
performance made in your "advertisement".

. Wrong Description Of Prices

"Personal and advertising injury" arising out of
the wrong description of the price of goods,
products or services stated in your
"advertisement".

Inc., 2012 CG 00 01 04 13
CG 00 01 04 13

Case 3:22-cv-00403-CWR-LGI Document 1-1

i. Infringement Of Copyright, Patent,
Trademark Or Trade Secret

"Personal and advertising injury" arising out of
the infringement of copyright, patent,
trademark, trade secret or other intellectual
property rights. Under this exclusion, such
other intellectual property rights do not include
the use of another's advertising idea in your
“advertisement”.

However, this exclusion does not apply to
infringement, in your "advertisement", of
copyright, trade dress or slogan.

. Insureds In Media And Internet Type
Businesses

"Personal and advertising injury" committed by
an insured whose business is:

(1) Advertising, broadcasting, publishing or
telecasting;

(2) Designing or determining content of web
sites for others; or

(3) An Internet search, access, content or
service provider.

However, this exclusion does not apply to
Paragraphs 14.a., b. and c. of "personal and
advertising injury" under the Definitions
section.

For the purposes of this exclusion, the placing
of frames, borders or links, or advertising, for
you or others anywhere on the Internet, is not
by itself, considered the business. of
advertising, broadcasting, publishing or
telecasting.

. Electronic Chatrooms Or Bulletin Boards

"Personal and advertising injury" arising out of
an electronic chatroom or bulletin board the
insured hosts, owns, or over which the insured
exercises control.

. Unauthorized Use Of Another's Name Or
Product

"Personal and advertising injury" arising out of
the unauthorized use of another's name or
product in your e-mail address, domain name
or metatag, or any other similar tactics to
mislead another's potential customers.

. Pollution

"Personal and advertising injury" arising out of
the actual, alleged or threatened discharge,
dispersal, seepage, migration, release or
escape of "pollutants" at any time.

© Insurance Services Office, Inc., 2012

Filed 07/15/22 Page 7 of 57

CG 00 01 04 13

n. Pollution-related

Any loss, cost or expense arising out of any:

(1) Request, demand, order or statutory or
regulatory requirement that any insured or
others test for, monitor, clean up, remove,
contain, treat, detoxify or neutralize, or in
any way respond to, or assess the effects
of, "pollutants"; or

(2) Claim or suit by or on behalf of a
governmental authority for damages
because of testing for, monitoring, cleaning
up, removing, containing, _ treating,
detoxifying or neutralizing, or in any way
responding to, or assessing the effects of,
"pollutants".

o. War

"Personal and advertising injury", however
caused, arising, directly or indirectly, out of:

(1) War, including undeclared or civil war;

(2) Warlike action by a military force, including
action in hindering or defending against an
actual or expected attack, by any
government, sovereign or other authority
using military personnel or other agents; or

(3) Insurrection, rebellion, revolution, usurped
power, or action taken by governmental
authority in hindering or defending against
any of these.

p. Recording And Distribution Of Material Or

Information In Violation Of Law

"Personal and advertising injury" arising
directly or indirectly out of any action or
omission that violates or is alleged to violate:

(1) The Telephone Consumer Protection Act
(TCPA), including any amendment of or
addition to such law;

(2) The CAN-SPAM Act of 2003, including any
amendment of or addition to such law;

(3) The Fair Credit Reporting Act (FCRA), and
any amendment of or addition to such law,
including the Fair and Accurate Credit
Transactions Act (FACTA); or

(4) Any federal, state or local statute,
ordinance or regulation, other than the
TCPA, CAN-SPAM Act of 2003 or FCRA
and their amendments and additions, that
addresses, prohibits, or limits the printing,

dissemination, disposal, collecting,
recording, sending, transmitting,
communicating or distribution of material or
information.

Page 7 of 16
Case 3:22-cv-00403-CWR-LGI

CG 00 01 04 13
COVERAGE C —- MEDICAL PAYMENTS
1. Insuring Agreement

a. We will pay medical expenses as described
below for "bodily injury” caused by an accident:

(1) On premises you own or rent;

(2) On ways next to premises you own or rent;
or

(3) Because of your operations;
provided that:

(a) The accident takes place in the
"coverage territory” and during the policy
period;

(b) The expenses are incurred and reported
to us within one year of the date of the
accident; and

(c) The injured person’ submits to
examination, at our expense, by
physicians of our choice as often as we
reasonably require.

b. We will make these payments regardless of
fault. These payments will not exceed the
applicable limit of insurance. We will pay
reasonable expenses for:

(1) First aid administered at the time of an

accident;

(2) Necessary medical, surgical, X-ray and
dental services, including prosthetic
devices; and

(3) Necessary ambulance, hospital,

professional nursing and funeral services.
2. Exclusions
We will not pay expenses for "bodily injury":
a. Any Insured
To any insured, except "volunteer workers".
b. Hired Person

To a person hired to do work for or on behalf of
any insured or a tenant of any insured.

c. Injury On Normally Occupied Premises

To a person injured on that part of premises
you own or rent that the person normally
occupies.

Page 8 of 16

Document 1-1

© Insurance Services Office, Inc., 2012

Filed 07/15/22 Page 8 of 57

d. Workers’ Compensation And Similar Laws

To a person, whether or not an "employee" of
any insured, if benefits for the "bodily injury"
are payable or must be provided under a
workers' compensation or disability benefits
law or a similar law.

e. Athletics Activities

To a person injured while practicing, instructing
or participating in any physical exercises or
games, sports, or athletic contests.

f. Products-Completed Operations Hazard

Included within the "“products-completed
operations hazard".

g. Coverage A Exclusions
Excluded under Coverage A.

SUPPLEMENTARY PAYMENTS — COVERAGES A
AND B

1. We will pay, with respect to any claim we
investigate or settle, or any "suit" against an
insured we defend:

a. All expenses we incur.

b. Up to $250 for cost of bail bonds required
because of accidents or traffic law violations
arising out of the use of any vehicle to which
the Bodily Injury Liability Coverage applies. We
do not have to furnish these bonds.

c. The cost of bonds to release attachments, but
only for bond amounts within the applicable
limit of insurance. We do not have to furnish
these bonds.

d. All reasonable expenses incurred by the
insured at our request to assist us in the
investigation or defense of the claim or "suit",
including actual loss of earnings up to $250 a
day because of time off from work.

e. All court costs taxed against the insured in the
"suit". However, these payments do not include
attorneys’ fees or attorneys’ expenses taxed
against the insured.

f. Prejudgment interest awarded against the
insured on that part of the judgment we pay. If
we make an offer to pay the applicable limit of
insurance, we will not pay any prejudgment
interest based on that period of time after the
offer.

CG 00 01 04 13
CG 00 01 04 13

Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 9of57

g- All interest on the full amount of any judgment
that accrues after entry of the judgment and
before we have paid, offered to pay, or
deposited in court the part of the judgment that
is within the applicable limit of insurance.

These payments will not reduce the limits of
insurance.

. If we defend an insured against a "suit" and an
indemnitee of the insured is also named as a party
to the "suit", we will defend that indemnitee if all of
the following conditions are met:

a. The "suit" against the indemnitee seeks
damages for which the insured has assumed
the liability of the indemnitee in a contract or
agreement that is an "insured contract”;

b. This insurance applies to such __ liability
assumed by the insured;

c. The obligation to defend, or the cost of the
defense of, that indemnitee, has also been
assumed by the insured in the same "insured
contract";

d. The allegations in the "suit" and the information
we know about the "occurrence" are such that
no conflict appears to exist between the
interests of the insured and the interests of the
indemnitee;

e. The indemnitee and the insured ask us to
conduct and control the defense of that
indemnitee against such "suit" and agree that
we can assign the same counsel to defend the
insured and the indemnitee; and

f. The indemnitee:
(1) Agrees in writing to:
(a) Cooperate with us in the investigation,
settlement or defense of the "suit";

(b) Immediately send us copies of any
demands, notices, summonses or legal
papers received in connection with the
"suit";

(c) Notify any other insurer whose coverage
is available to the indemnitee; and

(d) Cooperate with us with respect to
coordinating other applicable insurance
available to the indemnitee; and

(2) Provides us with written authorization to:

(a) Obtain records and other information
related to the "suit"; and

(b) Conduct and conirol the defense of the
indemnitee in such "suit".

© Insurance Services Office, Inc., 2012

CG 00 01 04 13

So long as the above conditions are met,
attorneys’ fees incurred by us in the defense of
that indemnitee, necessary litigation expenses
incurred by us and necessary litigation expenses
incurred by the indemnitee at our request will be
paid as Supplementary Payments.
Notwithstanding the provisions of Paragraph
2.b.(2) of Section | — Coverage A — Bodily Injury
And Property Damage Liability, such payments will
not be deemed to be damages for "bodily injury"
and "property damage” and will not reduce the
limits of insurance.

Our obligation to defend an insured's indemnitee
and to pay for attorneys’ fees and necessary
litigation expenses as Supplementary Payments
ends when we have used up the applicable limit of
insurance in the payment of judgments or
settlements or the conditions set forth above, or
the terms of the agreement described in
Paragraph f. above, are no longer met.

SECTION II - WHO IS AN INSURED
1. If you are designated in the Declarations as:

a. An individual, you and your spouse are
insureds, but only with respect to the conduct
of a business of which you are the sole owner.

b. A partnership or joint venture, you are an
insured. Your members, your partners, and
their spouses are also insureds, but only with
respect to the conduct of your business.

c. A limited liability company, you are an insured.
Your members are also insureds, but only with
respect to the conduct of your business. Your
managers are insureds, but only with respect
to their duties as your managers.

d. An organization other than a partnership, joint
venture or limited liability company, you are an
insured. Your "executive officers" and directors
are insureds, but only with respect to their
duties as your officers or directors. Your
stockholders are also insureds, but only with
respect to their liability as stockholders.

e. A trust, you are an insured. Your trustees are
also insureds, but only with respect to their
duties as trustees.

Page 9 of 16
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 10 of 57

CG 00 01 04 13
2. Each of the following is also an insured:

a. Your "volunteer workers" only while performing
duties related to the conduct of your business,
or your "employees", other than either your

c. Any person or organization having proper
temporary custody of your property if you die,
but only:

(1) With respect to liability arising out of the

Page 10 of 16

"executive officers” (if you are an organization
other than a partnership, joint venture or limited

maintenance or use of that property; and

(2) Until your legal representative has been

liability company) or your managers (if you are appointed.
a limited liability company), but only for acts d. Your legal representative if you die, but only
within the scope of their employment by you or with respect to duties as such. That

while performing duties related to the conduct
of your business. However, none of these
"employees" or "volunteer workers" are
insureds for:

(1) "Bodily injury" or "personal and advertising
injury":

(a) To you, to your partners or members (if

you are a partnership or joint venture),

to your members (if you are a limited

representative will have all your rights and
duties under this Coverage Part.

3. Any organization you newly acquire or form, other
than a partnership, joint venture or limited liability
company, and over which you maintain ownership
or majority interest, will qualify as a Named

Insured

if there is no other similar insurance

available to that organization. However:

hil: un " a. Coverage under this provision is afforded only
Wate at ommany). to oof oenpo ror until the 90th day after you acquire or form the
employment or performing duties related organization or the end of the policy period,
to the conduct of your business, or to whichever is earlier, dt ten
your other "volunteer workers" while b. Coverage A does not apply to "bodily injury” or
performing duties related to the conduct property damage" that occurred before you
of your business; acquired or formed the organization; and

(b) To the spouse, child, parent, brother or c. Coverage B does not apply to "personal and

sister of that co-"employee" or
"volunteer worker" as a consequence of
Paragraph (1)(a) above;

(c) For which there is any obligation to
share damages with or repay someone
else who must pay damages because of
the injury described in Paragraph (1){a)
or (b) above; or

(d) Arising out of his or her providing or
failing to provide professional health
care services.

advertising injury" arising out of an offense
committed before you acquired or formed the
organization.

No person or organization is an insured with respect
to the conduct of any current or past partnership, joint
venture or limited liability company that is not shown
as a Named Insured in the Declarations.

SECTION Ill — LIMITS OF INSURANCE
1. The Limits of Insurance shown in the Declarations

and the rules below fix the most we will pay
regardless of the number of:

(2) "Property damage" to property: a. Insureds:
(a) Owned, occupied or used by; b. Claims made or "suits" brought; or
(b) Rented to, in the care, custody or c. Persons or organizations making claims or

control of, or over which physical control

is being exercised for any purpose by;
you, any of your "employees", "volunteer
workers", any partner or member (if you are

bringing “suits”.

2. The General Aggregate Limit is the most we will
pay for the sum of:

’ - a. Medical expenses under Coverage C;
a partnership or joint venture), or any
member (if you are a_ limited liability b. Damages under Coverage A, except damages
company). because of "bodily injury" or "property damage”
, 4 included in the "products-completed operations
b. Any person (other than your "employee" or hazard": and
"volunteer worker"), or any organization while ,
acting as your real estate manager. c. Damages under Coverage B.

© Insurance Services Office, Inc., 2012

CG 00 01 04 13
Case 3:22-cv-00403-CWR-LGI

3. The Products-Completed Operations Aggregate
Limit is the most we will pay under Coverage A for
damages because of "bodily injury” and "property
damage" included in the "products-completed
operations hazard”.

4. Subject to Paragraph 2. above, the Personal And
Advertising Injury Limit is the most we will pay
under Coverage B for the sum of all damages
because of all "personal and advertising injury"
sustained by any one person or organization.

5. Subject to Paragraph 2. or 3. above, whichever
applies, the Each Occurrence Limit is the most we
will pay for the sum of:

a. Damages under Coverage A; and
b. Medical expenses under Coverage C

because of all “bodily injury" and "property
damage" arising out of any one “occurrence”.

6. Subject to Paragraph 5. above, the Damage To
Premises Rented To You Limit is the most we will
pay under Coverage A for damages because of
"property damage” to any one premises, while
rented to you, or in the case of damage by fire,
while rented to you or temporarily occupied by you
with permission of the owner.

7. Subject to Paragraph 5. above, the Medical
Expense Limit is the most we will pay under
Coverage C for all medical expenses because of
"bodily injury” sustained by any one person.

The Limits of Insurance of this Coverage Part apply
separately to each consecutive annual period and to
any remaining period of less than 12 months, starting
with the beginning of the policy period shown in the
Declarations, unless the policy period is extended
after issuance for an additional period of less than 12
months. In that case, the additional period will be
deemed part of the last preceding period for purposes
of determining the Limits of Insurance.

SECTION IV —- COMMERCIAL GENERAL LIABILITY
CONDITIONS

1. Bankruptcy

Bankruptcy or insolvency of the insured or of the
insured's estate will not relieve us of our
obligations under this Coverage Part.

2. Duties In The Event Of Occurrence, Offense,
Claim Or Suit

a. You must see to it that we are notified as soon
as practicable of an “occurrence” or an offense
which may result in a claim. To the extent
possible, notice should include:

(1) How, when and where the "occurrence" or
offense took place;

(2) The names and addresses of any injured
persons and witnesses; and

CG 00 01 04 13

Document 1-1

© Insurance Services Office, Inc., 2012

Filed 07/15/22 Page 11 of 57

CG 00 01 04 13

(3) The nature and location of any injury or
damage arising out of the “occurrence” or
offense.

b. If a claim is made or "suit" is brought against
any insured, you must:

(1) Immediately record the specifics of the
claim or "suit" and the date received; and

(2) Notify us as soon as practicable.

You must see to it that we receive written
notice of the claim or "suit" as soon as
practicable.

ce. You and any other involved insured must:

(1) Immediately send us copies of any
demands, notices, summonses or legal
papers received in connection with the
claim or "suit";

(2) Authorize us to obtain records and other
information;

(3) Cooperate with us in the investigation or
settlement of the claim or defense against
the "suit"; and

(4) Assist us, upon our request, in the
enforcement of any right against any
person or organization which may be liable
to the insured because of injury or damage
to which this insurance may also apply.

d. No insured will, except at that insured’s own
cost, voluntarily make a payment, assume any
obligation, or incur any expense, other than for
first aid, without our consent.

3. Legal Action Against Us

No person or organization has a right under this
Coverage Part:

a. To join us as a party or otherwise bring us into
a "suit" asking for damages from an insured; or

b. To sue us on this Coverage Part unless all of
its terms have been fully complied with.

A person or organization may sue us to recover on
an agreed settlement or on a final judgment
against an insured; but we will not be liable for
damages that are not payable under the terms of
this Coverage Part or that are in excess of the
applicable limit of insurance. An agreed settlement
means a settlement and release of liability signed
by us, the insured and the claimant or the
claimant's legal representative.

Page 11 of 16
Case 3:22-cv-00403-CWR-LGI Document 1-1

CG 00 01 04 13
4. Other Insurance

If other valid and collectible insurance is available
to the insured for a loss we cover under
Coverages A or B of this Coverage Part, our
obligations are limited as follows:

a. Primary Insurance

This insurance is primary except when
Paragraph b. below applies. If this insurance is
primary, our obligations are not affected unless
any of the other insurance is also primary.
Then, we will share with all that other
insurance by the method described in
Paragraph c. below.

b. Excess Insurance
(1) This insurance is excess over:

(a) Any of the other insurance, whether
primary, excess, contingent or on any
other basis:

(i) That is Fire, Extended Coverage,
Builder's Risk, Installation Risk or
similar coverage for "your work”;

(il) That is Fire insurance for premises
rented to you or _ temporarily
occupied by you with permission of
the owner;

(iii) That is insurance purchased by you
to cover your liability as a tenant for
"property damage" to premises
rented to you or _ temporarily
occupied by you with permission of
the owner; or

(iv) If the loss arises out of the
maintenance or use of aircraft,
"autos" or watercraft to the extent not
subject to Exclusion g. of Section I — b.
Coverage A — Bodily Injury And
Property Damage Liability.

(b) Any other primary insurance available to

you covering liability for damages

arising out of the premises or

operations, or the products and

completed operations, for which you

have been added as an additional

insured.

(2) When this insurance is excess, we will have

c.

Filed 07/15/22 Page 12 of 57

(3) When this insurance is excess over other
insurance, we will pay only our share of the
amount of the loss, if any, that exceeds the
sum of:

(a) The total amount that all such other
insurance would pay for the loss in the
absence of this insurance; and

(b) The total of all deductible and self-
insured amounts under all that other
insurance.

(4) We will share the remaining loss, if any,
with any other insurance that is not
described in this Excess _ Insurance
provision and was not bought specifically to
apply in excess of the Limits of Insurance
shown in the Declarations of this Coverage
Part.

Method Of Sharing

If all of the other insurance permits contribution
by equal shares, we will follow this method
also. Under this approach each _ insurer
contributes equal amounts until it has paid its
applicable limit of insurance or none of the loss
remains, whichever comes first.

If any of the other insurance does not permit
contribution by equal shares, we will contribute
by limits. Under this method, each insurer's
share is based on the ratio of its applicable
limit of insurance to the total applicable limits of
insurance of all insurers.

5. Premium Audit

We will compute all premiums for this
Coverage Part in accordance with our rules
and rates.

Premium shown in this Coverage Part as
advance premium is a deposit premium only.
At the close of each audit period we will
compute the earned premium for that period
and send notice to the first Named Insured.
The due date for audit and retrospective
premiums is the date shown as the due date
on the bill. If the sum of the advance and audit
premiums paid for the policy period is greater
than the earned premium, we will return the
excess to the first Named Insured.

dut der C A or B to defend c. The first Named Insured must keep records of
the uly “ed er mst aay" if nr e thor the information we need for premium
ine insured against any sult’ it any othe computation, and send us copies at such times
insurer has a duty to defend the insured as we ma

: te, tat : y request.
against that "suit". If no other insurer ’
defends, we will undertake to do so, but we 6. Representations
will be entitled to the insured's rights By accepting this policy, you agree:
against all those other insurers. a. The statements in the Declarations are

accurate and complete;

Page 12 of 16 © Insurance Services Office, Inc., 2012 CG 00 01 04 13
CG 00 01 04 13

Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 13 of 57

b. Those statements are based upon
representations you made to us; and

c. We have issued this policy in reliance upon
your representations.

. Separation Of Insureds

Except with respect to the Limits of Insurance, and
any rights or duties specifically assigned in this
Coverage Part to the first Named Insured, this
insurance applies:

a. As if each Named Insured were the only
Named Insured; and

b. Separately to each insured against whom claim
is made or "suit" is brought.

. Transfer Of Rights Of Recovery Against Others
To Us

If the insured has rights to recover all or part of
any payment we have made under this Coverage
Part, those rights are transferred to us. The
insured must do nothing after loss to impair them.
At our request, the insured will bring "suit" or
transfer those rights to us and help us enforce
them.

. When We Do Not Renew

If we decide not to renew this Coverage Part, we
will mail or deliver to the first Named Insured
shown in the Declarations written notice of the
nonrenewal not less than 30 days before the
expiration date.

If notice is mailed, proof of mailing will be sufficient
proof of notice.

SECTION V — DEFINITIONS
1. "Advertisement" means a notice that is broadcast

or published to the general public or specific
market segments about your goods, products or
services for the purpose of attracting customers or
supporters. For the purposes of this definition:

a. Notices that are published include material
placed on the Internet or on similar electronic
means of communication; and

b. Regarding web sites, only that part of a web
site that is about your goods, products or
services for the purposes of attracting
customers or supporters is considered an
advertisement.

2. "Auto" means:

a. A land motor vehicle, trailer or semitrailer
designed for travel on public roads, including
any attached machinery or equipment; or

b. Any other land vehicle that is subject to a
compulsory or financial responsibility law or
other motor vehicle insurance law where it is
licensed or principally garaged.

© Insurance Services Office, Inc., 2012

CG 00 01 04 13

However, "auto" does not include "mobile
equipment”.

. "Bodily injury" means bodily injury, sickness or

disease sustained by a person, including death
resulting from any of these at any time.

. "Coverage territory” means:

a. The United States of America (including its
territories and possessions), Puerto Rico and
Canada;

b. International waters or airspace, but only if the
injury or damage occurs in the course of travel
or transportation between any places included
in Paragraph a. above; or

c. All other parts of the world if the injury or
damage arises out of:

(1) Goods or products made or sold by you in
the territory described in Paragraph a.
above;

(2) The activities of a person whose home is in
the territory described in Paragraph a.
above, but is away for a short time on your
business; or

(3) "Personal and advertising injury" offenses
that take place through the Internet or
similar electronic means of communication;

provided the insured's responsibility to pay
damages is determined in a "suit" on the
merits, in the territory described in Paragraph
a. above or in a settlement we agree to.

. "Employee" includes a "leased worker".

"Employee" does not include a “temporary
worker”.

. "Executive officer" means a person holding any of

the officer positions created by your charter,
constitution, bylaws or any other similar governing
document.

. "Hostile fire" means one which becomes

uncontrollable or breaks out from where it was
intended to be.

. "Impaired property" means tangible property, other

than "your product” or "your work", that cannot be
used or is less useful because:

a. It incorporates "your product" or "your work"
that is known or thought to be defective,
deficient, inadequate or dangerous; or

b. You have failed to fulfill the terms of a contract
or agreement;

if such property can be restored to use by the

repair, replacement, adjustment or removal of

"your product” or "your work" or your fulfilling the

terms of the contract or agreement.

Page 13 of 16
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 14 of 57

CG 00 01 04 13

9. "Insured contract" means: 10."Leased worker" means a person leased to you by

Page 14 of 16

a. A contract for a lease of premises. However,
that portion of the contract for a lease of
premises that indemnifies any person or
organization for damage by fire to premises

a labor leasing firm under an agreement between
you and the labor leasing firm, to perform duties
related to the conduct of your business. "Leased
worker" does not include a "temporary worker”.

while rented to you or temporarily occupied by 11."Loading or unloading" means the handling of
you with permission of the owner is not an property:
"insured contract"; a. After it is moved from the place where it is
b. A sidetrack agreement; accepted for movement into or onto an aircraft,
c. Any easement or license agreement, except in watercraft or "auto";
connection with construction or demolition b. While it is in or on an aircraft, watercraft or
operations on or within 50 feet of a railroad; "auto"; or
d. An obligation, as required by ordinance, to c. While it is being moved from an_ aircraft,
indemnify a municipality, except in connection watercraft or "auto" to the place where it is
with work for a municipality; finally delivered;
e. An elevator maintenance agreement; but “loading or unloading" does not include the
f. That part of any other contract or agreement movement of property by means of a mechanical
pertaining to your business (including an device, other than a hand truck, that is not
indemnification of a municipality in connection attached to the aircraft, watercraft or "auto".
with work performed for a municipality) under 12."Mobile equipment" means any of the following

which you assume the tort liability of another
party to pay for "bodily injury” or "property
damage" to a third person or organization. Tort
liability means a liability that would be imposed
by law in the absence of any contract or
agreement.

Paragraph f. does not include that part of any
contract or agreement:

(1) That indemnifies a railroad for "bodily injury"
or "property damage" arising out of
construction or demolition operations, within
50 feet of any railroad property and
affecting any railroad bridge or trestle,
tracks, road-beds, tunnel, underpass or
crossing;

(2) That indemnifies an architect, engineer or
surveyor for injury or damage arising out of:
(a) Preparing, approving, or failing to
prepare or approve, maps, shop
drawings, opinions, reports, surveys,
field orders, change orders or drawings

and specifications; or

(b) Giving directions or instructions, or
failing to give them, if that is the primary
cause of the injury or damage; or

(3) Under which the insured, if an architect,
engineer or surveyor, assumes liability for
an injury or damage arising out of the
insured's rendering or failure to render
professional services, including those listed
in (2) above and supervisory, inspection,
architectural or engineering activities.

© Insurance Services Office, Inc., 2012

types of land vehicles, including any attached
machinery or equipment:

a. Bulldozers, farm machinery, forklifts and other
vehicles designed for use principally off public
roads;

b. Vehicles maintained for use solely on or next to
premises you own or rent;

c. Vehicles that travel on crawler treads;

d. Vehicles, whether self-propelled or not,
maintained primarily to provide mobility to
permanently mounted:

(1) Power cranes, shovels, loaders, diggers or
drills; or

(2) Road construction or resurfacing equipment
such as graders, scrapers or rollers;

e. Vehicles not described in Paragraph a., b., c.
or d. above that are not self-propelled and are
maintained primarily to provide mobility to
permanently attached equipment of the
following types:

(1) Air compressors, pumps and generators,
including spraying, welding, building
cleaning, geophysical exploration, lighting
and well servicing equipment; or

(2) Cherry pickers and similar devices used to
raise or lower workers;

f. Vehicles not described in Paragraph a., b., c.
or d. above maintained primarily for purposes
other than the transportation of persons or
cargo.

CG 00 01 04 13
Case 3:22-cv-00403-CWR-LGI

However, self-propelled vehicles with the
following types of permanently attached
equipment are not "mobile equipment" but will
be considered "autos":

(1) Equipment designed primarily for:
(a) Snow removal;

(b) Road maintenance, but not construction
or resurfacing; or

(c) Street cleaning;

(2) Cherry pickers and similar devices mounted
on automobile or truck chassis and used to
raise or lower workers; and

(3) Air compressors, pumps and generators,
including spraying, welding, building
cleaning, geophysical exploration, lighting
and well servicing equipment.

However, "mobile equipment" does not include
any land vehicles that are subject to a compulsory
or financial responsibility law or other motor
vehicle insurance law where it is licensed or
principally garaged. Land vehicles subject to a
compulsory or financial responsibility law or other
motor vehicle insurance law are considered
"autos".

13."Occurrence" means an_ accident, including
continuous or repeated exposure to substantially
the same general harmful conditions.

14."Personal and advertising injury" means injury,
including consequential "bodily injury", arising out
of one or more of the following offenses:
a. False arrest, detention or imprisonment;
b. Malicious prosecution;

c. The wrongful eviction from, wrongful entry into,
or invasion of the right of private occupancy of
a room, dwelling or premises that a person
occupies, committed by or on behalf of its
owner, landlord or lessor;

d. Oral or written publication, in any manner, of
material that slanders or libels a person or
organization or disparages a person's or
organization's goods, products or services;

e. Oral or written publication, in any manner, of
material that violates a person's right of
privacy;

f. The use of another's advertising idea in your
"advertisement"; or

g. Infringing upon another's copyright, trade dress
or slogan in your "advertisement".

15."Pollutants" mean any solid, liquid, gaseous or
thermal irritant or contaminant, including smoke,
vapor, soot, fumes, acids, alkalis, chemicals and
waste. Waste includes materials to be recycled,
reconditioned or reclaimed.

CG 00 01 04 13

Document 1-1

© Insurance Services Office, Inc., 2012

Filed 07/15/22 Page 15 of 57

CG 00 01 04 13
16."Products-completed operations hazard":

a. Includes all "bodily injury" and "property
damage" occurring away from premises you
own or rent and arising out of "your product” or
"your work" except:

(1) Products that are still in your physical
possession; or

(2) Work that has not yet been completed or
abandoned. However, "your work" will be
deemed completed at the earliest of the
following times:

(a) When all of the work called for in your
contract has been completed.

(b) When all of the work to be done at the
job site has been completed if your
contract calls for work at more than one
job site.

(c) When that part of the work done at a job
site has been put to its intended use by
any person or organization other than
another contractor or subcontractor
working on the same project.

Work that may need service, maintenance,
correction, repair or replacement, but which
is otherwise complete, will be treated as
completed.

b. Does not include "bodily injury" or "property
damage" arising out of:

(1) The transportation of property, unless the
injury or damage arises out of a condition in
or on a vehicle not owned or operated by
you, and that condition was created by the
"loading or unloading” of that vehicle by any

insured;

(2) The existence of tools, uninstalled
equipment or abandoned or unused
materials; or

(3) Products or operations for which the
classification, listed in the Declarations or in
a policy Schedule, states that products-
completed operations are subject to the

General Aggregate Limit.

17."Property damage” means:

a. Physical injury to tangible property, including
all resulting loss of use of that property. All

such loss of use shall be deemed to occur at
the time of the physical injury that caused it; or

b. Loss of use of tangible property that is not
physically injured. All such loss of use shall be
deemed to occur at the time of the
"occurrence" that caused it.

For the purposes of this insurance, electronic data
is not tangible property.

Page 15 of 16
Case 3:22-cv-00403-CWR-LGI

CG 00 01 04 13

As used in this definition, electronic data means
information, facts or programs stored as or on,
created or used on, or transmitted to or from
computer software, including systems and
applications software, hard or floppy disks, CD-
ROMs, tapes, drives, cells, data processing
devices or any other media which are used with
electronically controlled equipment.

18. "Suit" means a civil proceeding in which damages
because of "bodily injury", "property damage" or
"personal and advertising injury" to which this
insurance applies are alleged. "Suit" includes:

a. An arbitration proceeding in which such
damages are claimed and to which the insured
must submit or does submit with our consent;
or

b. Any other alternative dispute resolution
proceeding in which such damages are
claimed and to which the insured submits with
our consent.

19."Temporary worker" means a person who is
furnished to you to substitute for a permanent
"employee" on leave or to meet seasonal or short-
term workload conditions.

20."Volunteer worker" means a person who is not
your "employee", and who donates his or her work
and acts at the direction of and within the scope of
duties determined by you, and is not paid a fee,
salary or other compensation by you or anyone
else for their work performed for you.

21."Your product":
a. Means:

(1) Any goods or products, other than real
property, manufactured, sold, handled,
distributed or disposed of by:

(a) You;
(b) Others trading under your name; or
(c) A_ person or organization whose

business or assets you have acquired;
and
(2) Containers (other than vehicles), materials,
parts or equipment furnished in connection
with such goods or products.

Document 1-1

Filed 07/15/22 Page 16 of 57

b. Includes:

(1) Warranties or representations made at any
time with respect to the fitness, quality,
durability, performance or use of "your
product"; and

(2) The providing of or failure to provide
warnings or instructions.

c. Does not include vending machines or other
property rented to or located for the use of
others but not sold.

22."Your work":
a. Means:

(1) Work or operations performed by you or on
your behalf; and

(2) Materials, parts or equipment furnished in
connection with such work or operations.
b. Includes:

(1) Warranties or representations made at any
time with respect to the fitness, quality,
durability, performance or use of "your
work"; and

(2) The providing of or failure to provide
warnings or instructions.

All terms and conditions of this policy apply unless modified by this endorsement.

Page 16 of 16

© Insurance Services Office, Inc., 2012

CG 00 01 04 13
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 17 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO 82639
ONE NATIONWIDE PLAZA RENEWAL
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY DECLARATIONS

Policy Number: ACP GLKO 5654994061

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC
- SEE NAMED INSURED SCHEDULE

Address: PO BOX 47

HAZLEHURST MS 39083-0047
Agent: The Nowell Agency, Inc. 23-82639-063
Address: BRANDON MS 39047 PRODUCER: THE NOWELL AGENCY INC

Policy Period: From 04/08/16 to 04/08/17 12:01 A.M. standard time at the address of the named insured as stated
herein.

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

LIMITS OF INSURANCE

GENERAL AGGREGATE LIMIT (other than roducts-completed operations) $ 2,000,000
PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT $ 2,000,000
PERSONAL AND ADVERTISING INJURY LIMIT $ 1,000,000
EACH OCCURRENCE LIMIT $ 1,000,000
DAMAGE TO PREMISES RENTED TO YOU LIMIT (any one premises) $ 100,000
MEDICAL EXPENSE LIMIT (any one person) $ 5,000
Retroactive Date (CG0002 only)
The Named Insured is: CORPORATION
Business of the Named Insured is: HOME IMPROVEMENT STORE
Audit Period: ANNUAL
ENDORSEMENTS ATTACHED TO THIS POLICY
SEE COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS SCHEDULE
TOTAL AGENT COMMISSION $ 631.35
TOTAL ADVANCE PREMIUM $ 4,209.00

Replacement or
Renewal Number ACP GLKO 5644994061

Countersigned By

Authorized Representative
GL-D (10-98)
DIRECT BILL LUPG 16103 Comm. 1500 AGENT COPY ACP GLKO 5654994061 978743342 56 0018093
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

Document 1-1

Filed 07/15/22

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5654994061

Page 18 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium
Basis

Rates

Advance Premium

OTHER PR/CO

OTHER

PR/CO

OO1A MS-O01
CARPENTRY - CON-

STRUCTION OF RESI-
DENTIAL PROPERTY NOT

EXCEEDING THREE

STORIES IN HEIGHT

CG7451

124 W WHITWORTH ST

HAZLEHURST
MS390832233

002A MS-001

CONCRETE CONSTRUCT-

ION

CG7451

124 W WHITWORTH ST

HAZLEHURST
MS390832233

OO3A MS-001
DRIVEWAY ,

CG7004 CG7451

124 W WHITWORTH ST

HAZLEHURST
MS390832233

004A MS-001

FENCE ERECTION
CONTRACTORS

CG7451

124 W WHITWORTH ST

HAZLEHURST
MS390832233

amount.

GL-DS (12-93)

DIRECT BILL LUPG 16103

PARKING
AREA OR SIDEWALK -
PAVING OR REPAVING

91340

91560

92215

94276

PAYROLL
55,500

PAYROLL
IF ANY

PAYROLL
15,084

PAYROLL
IF ANY

PER THOUSAND
9.368 12.218

PER THOUSAND
14.809 7.984

PER THOUSAND
8.025 4.234

PER THOUSAND
10.095 8.100

Total Advance Other and PR/CO

AGENT COPY

$520

$122

TOTAL ADVANCE PREMIUM
NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

ACP GLKO 5654994061

978743342

$678

$64

56

0018094
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 19 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5654994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

OO5A MS-O01 97047 PAYROLL PER THOUSAND
LANDSCAPE GARDENING IF ANY 7.480
PRODUCTS-COMPLETED

OPERATIONS ARE

SUBJECT TO THE

GENERAL AGGREGATE

LIMIT

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OOGA MS-001 98483 PAYROLL PER THOUSAND
PLUMBING - RESIDEN- 100 10.490 24.754 $1 $3
TIAL OR DOMESTIC

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OO7A MS-O01 95647 PAYROLL PER THOUSAND
HEATING OR COMBINED IF ANY 6.080 9.367
HEATING AND AIR

CONDITIONING SYS-

TEMS OR EQUIPMENT-

DEALERS OR DISTRIBU-

TORS AND INSTALL-

ATION, SERVICING OR

REPAIR-NO LIQUIFIED

PETROLEUM GAS (LPG)

EQUIPMENT SALES OR

WORK

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

008A MS-001 98884 PAYROLL PER THOUSAND

SHEET METAL WORK - 150 5.606 3.487 $1 $1
OUTSIDE

CG7451

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL LUPG 16103 AGENT COPY ACP GLKO 5654994061 978743342 56 0018095
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 20 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5654994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

124 W WHITWORTH ST

HAZLEHURST
MS390832233

009A MS-O01 95410 PAYROLL PER THOUSAND
GRADING OF LAND IF ANY 9.730 5.144

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O1OA MS-001 92478 PAYROLL PER THOUSAND

ELECTRICAL WORK - IF ANY 3.530 3.099
WITHIN BUILDINGS

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O11A MS-O0O1 94007 PAYROLL PER THOUSAND
EXCAVATION 15,693 21.799 8.381 $342 $132

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

012A MS-001 98305 PAYROLL PER THOUSAND

PAINTING - INTERIOR 41,491 6.549 2.501 $272 $104
- BUILDINGS OR

STRUCTURES

CGO300 CG7004 CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL LUPG 16103 AGENT COPY ACP GLKO 5654994061 978743342 56 0018096
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

Document 1-1

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5654994061

Filed 07/15/22

Page 21 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium
Basis

Rates

Advance Premium

OTHER PR/CO

OTHER PR/CO

013A MS-O01
CONTRACTORS - SUB-
CONTRACTED WORK - IN
CONNECTION WITH
BUILDING CONSTRUCT-
ION, RECONSTRUCTION,
REPAIR OR ERECTION -
ONE OR TWO FAMILY
DWELLINGS

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O14A MS-001
DRY WALL OR
WALLBOARD
INSTALLATION

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O15A MS-O0O1
FLOOR COVERING
INSTALLATION - NOT
CERAMIC TILE OR
STONE

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

016A MS-O0O1
SIDING INSTALLATION

CG7451
124 W WHITWORTH ST

HAZLEHURST
MS390832233

amount.

GL-DS (12-93)

DIRECT BILL LUPG 16103

91583

92338

94569

98967

COST OF WORK
128,583

PAYROLL
21,362

PAYROLL

?

PAYROLL

+

Total Advance Other and PR/CO

AGENT COPY

PER THOUSAND
1.226 2.697

PER THOUSAND
4.380 3.300

PER THOUSAND
6.463 4.824

PER THOUSAND
8.810 12.726

$158 $347

$93 $70

$315 $236

$29 $40

TOTAL ADVANCE PREMIUM
NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

ACP GLKO 5654994061

978743342 56 0018097
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5654994061

Document 1-1

Filed 07/15/22

Page 22 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium

Rates

Advance Premium

Basis

OTHER

PR/CO OTHER

PR/CO

MS-O0O1
STONE,

O17A
TILE,

STRUCTION
CG7451

124 W WHITWORTH ST

HAZLEHURST
MS390832233

ool1c MS-001
CONTRACTORS
ENHANCEMENT PLUS

INCLUDING MEDICAL

PAYMENTS
CG7323

MARBLE,
MOSAIC OR TERRAZZO
WORK - INTERIOR CON-

99746

77504

PAYROLL
26,293

FLAT CHARGE

Total Advance Other and PR/CO

PER THOUSAND
5.252

5.447 $138

$400

$2,391

TOTAL ADVANCE PREMIUM

$143

$1,818

$4,209

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

amount.

GL-DS (12-93)

DIRECT BILL LUPG 16103

AGENT COPY

ACP GLKO 5654994061

978743342

56

0018098
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 23 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE OF INSUREDS
POLICY Number: ACP GLKO5654994061 POLICY Period: From 04-08-16 To 04-08-17

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Insured Names

001 HUNTINGTON LUMBER & SUPPLY COMPANY, INC

003 - HUNTINGTON LUMBER & SUPPLY COMPANY, INC - DBA
004 DO IT BEST

005 HUNTINGTON ASSETS LLC

GL-DI (06-90)

DIRECT BILL LUPG 16103 AGENT COPY ACP GLKO 5654994061 978743342 56 0018099
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 24 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS

Number: ACP GLKO 5654994061 Period: From 04/08/16 To 04/08/17
Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Form Date Title
CG0001 0413. COMMERCIAL GENERAL LIABILITY COVERAGE FORM
CG0300 0196 DEDUCTIBLE LIABILITY INSURANCE
CG2106 0514 EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION
CG2147 1207 EMPLOYMENT - RELATED PRACTICES EXCLUSION
CG2167 1204 FUNGI OR BACTERIA EXCLUSION
CG2170 0115 CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
CG7004 1001 SPRAY PAINTING (COVERAGE FOR OVERSPRAY)
CG7023 1096 EXCL-ASBESTOS, ELECTRO-MAGNETIC RADIATION, LEAD AND RADON
CG7033 0393 TWO OR MORE COVERAGE FORMS OR POLICIES ISSUED BY US
CG7287 1211. DEFINITION OF OCCURRENCE AMENDATORY ENDORSEMENT FOR CONSTRUCTION DEFECTS
CG7323 1214 | CONTRACTORS ENHANCEMENT PLUS ENDORSEMENT INCLUDING MEDICAL PAYMENTS
CG7451 0612 CANCELLATION NOTICE MISSISSIPPI STATE BOARD OF CONTRACTORS
IL0017 1198 COMMON POLICY CONDITIONS
ILO021 0908 NUCLEAR ENERGY LIABILITY EXCLUSION
ILO282 0908 MS CHANGES - CANC & NON-RENEWAL
13614 1185 SPECIAL CONTINUATION PROVISION

IMPORTANT NOTICES

IN5017 0593. IMPORTANT NOTICE FOR RENEWAL POLICIES

GLDF (02-93)
DIRECT BILL LUPG 16103 AGENT COPY ACP GLKO 5654994061 978743342 56 0018100
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 25 of 57

POLICY NUMBER: COMMERCIAL GENERAL LIABILITY
CG 03 00 01 96

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

DEDUCTIBLE LIABILITY INSURANCE

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

SCHEDULE
Coverage Amount and Basis of Deductible
PER CLAIM or PER OCCURRENCE

Bodily Injury Liability $ $

OR
Property Damage Liability $ 250 $

OR
Bodily Injury Liability and/or
Property Damage Liability Combined $ $

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all "bodily injury" and "property damage", however

caused):
PAINTING

A. Our obligation under the Bodily Injury Liability and b. Under Property Damage Liability Coverage,
Property Damage Liability Coverages to pay dam- to all damages sustained by any one per-
ages on your behalf applies only to the amount of son because of "property damage"; or
damages in excess of any deductible amounts c. Under Bodily Injury Liability and/or Property
stated in the Schedule above as applicable to Damage Liability Coverage Combined, to
such coverages. all damages sustained by any one person

B. You may select a deductible amount on either a because of:
per claim or a per “occurrence” basis. Your se- (1) "Bodily injury";

lected deductible applies to the coverage option

and to the basis of the deductible indicated by the (2) "Property damage"; or

placement of the deductible amount in the Sched- (3) “Bodily injury" and "property damage"

ule above. The deductible amount stated in the combined

Schedule above applies as follows: as the result of any one "occurrence".

1. PER CLAIM BASIS. If the deductible amount If damages are claimed for care, loss of ser-
indicated in the Schedule above is on a per vices or death resulting at any time from "bodily
claim basis, that deductible applies as follows: injury", a separate deductible amount will be
a. Under Bodily Injury Liability Coverage, to all applied to each person making a claim for such

damages sustained by any one person be- damages.
cause of "bodily injury"; With respect to "property damage", person in-

cludes an organization.

CG 03 00 01 96 Copyright, Insurance Services Office, Inc., 1994 Page 1 of 2
ACP GLKO5654994061 LUPG 16103. AGENT COPY 56 0018101
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 26 of 57

CG 03 00 01 96
2. PER OCCURRENCE BASIS. If the deductible C. The terms of this insurance, including those with

amount indicated in the Schedule above is on respect to:

a "per occurrence” basis, that deductible 1. Our right and duty to defend the insured

amount applies as follows: against any "suits" seeking those damages;

a. Under Bodily Injury Liability Coverage, to all and
damages because of "bodily injury"; 2. Your duties in the event of an "occurrence",

b. Under Property Damage Liability Coverage, claim, or "suit"
to all damages because of "property dam- apply irrespective of the application of the de-
age , or a ductible amount.

c. Under Bodily Injury Liability and/or Property =D. We may pay any part or all of the deductible
Damage Liability Coverage Combined, to amount to effect settlement of any claim or "suit"
all damages because of: and, upon notification of the action taken, you shall
(1) "Bodily injury"; promptly reimburse us for such part of the de-
(2) "Property damage"; or ductible amount as has been paid by us.

(3) "Bodily injury" and "property damage"
combined
as the result of any one "occurrence", regard-
less of the number of persons or organizations
who sustain damages because of that "occur-
rence".

Page 2 of 2 Copyright, Insurance Services Office, Inc., 1994 CG 03 00 01 96
ACP GLKO5654994061 LUPG 16103 AGENT COPY 56 0018102
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 27 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO 82639
ONE NATIONWIDE PLAZA RENEWAL
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY DECLARATIONS

Policy Number: ACP GLKO 5664994061

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC
- SEE NAMED INSURED SCHEDULE

Address: PO BOX 47

HAZLEHURST MS 39083-0047
Agent: The Nowell Agency, Inc. 23-82639-063
Address: BRANDON MS 39047 PRODUCER: THE NOWELL AGENCY INC

Policy Period: From 04/08/17 to 04/08/18 12:01 A.M. standard time at the address of the named insured as stated
herein.

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

LIMITS OF INSURANCE

GENERAL AGGREGATE LIMIT (other than roducts-completed operations) $ 2,000,000
PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT $ 2,000,000
PERSONAL AND ADVERTISING INJURY LIMIT $ 1,000,000
EACH OCCURRENCE LIMIT $ 1,000,000
DAMAGE TO PREMISES RENTED TO YOU LIMIT (any one premises) $ 100,000
MEDICAL EXPENSE LIMIT (any one person) $ 5,000
Retroactive Date (CG0002 only)
The Named Insured is:
Business of the Named Insured is: HOME IMPROVEMENT STORE
Audit Period: ANNUAL
ENDORSEMENTS ATTACHED TO THIS POLICY
SEE COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS SCHEDULE
TOTAL AGENT COMMISSION $ 475.80
TOTAL ADVANCE PREMIUM $ 3,172.00

Replacement or
Renewal Number ACP GLKO 5654994061

Countersigned By

Authorized Representative
GL-D (10-98)
DIRECT BILL LISR 17107 Comm. 1500 AGENT COPY ACP GLKO 5664994061 978743342 35 = =©0010158
Case 3:22-cv-00403-CWR-LGI Document 1-1

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5664994061

Filed 07/15/22 Page 28 of 57

Item No., Location
and Description

Code Premium Rates Advance Premium

of Hazards No. Basis OTHER

PR/CO OTHER PR/CO

OO1A MS-O01 91340 PAYROLL PER THOUSAND

CARPENTRY - CON- 52,864 12.563
STRUCTION OF RESI-

DENTIAL PROPERTY NOT

EXCEEDING THREE

STORIES IN HEIGHT

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

13.259 $664 $701

002A MS-O001 91560 PAYROLL PER THOUSAND

CONCRETE CONSTRUCT - IF ANY 17.897

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

8.246

OO3A MS-001 92215 PAYROLL PER THOUSAND

DRIVEWAY, PARKING 23,221 9.605
AREA OR SIDEWALK -
PAVING OR REPAVING

CG7004 CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

4.414 $223 $103

004A MS-001 94276 PAYROLL PER THOUSAND

FENCE ERECTION IF ANY 11.493
CONTRACTORS

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

8.495

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

amount.

GL-DS (12-93)
DIRECT BILL LISR 17107 AGENT COPY

ACP GLKO 5664994061 978743342 35

0010159
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 29 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5664994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

OO5A MS-O01 97047 PAYROLL PER THOUSAND
LANDSCAPE GARDENING IF ANY 8.910
PRODUCTS-COMPLETED

OPERATIONS ARE

SUBJECT TO THE

GENERAL AGGREGATE

LIMIT

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OOGA MS-001 98483 PAYROLL PER THOUSAND
PLUMBING - RESIDEN- IF ANY 13.363 28.707
TIAL OR DOMESTIC

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OO7A MS-O01 95647 PAYROLL PER THOUSAND
HEATING OR COMBINED IF ANY 8.076 10.130
HEATING AND AIR

CONDITIONING SYS-

TEMS OR EQUIPMENT-

DEALERS OR DISTRIBU-

TORS AND INSTALL-

ATION, SERVICING OR

REPAIR-NO LIQUIFIED

PETROLEUM GAS (LPG)

EQUIPMENT SALES OR

WORK

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

008A MS-001 98884 PAYROLL PER THOUSAND

SHEET METAL WORK - IF ANY 6.389 3.394
OUTSIDE

CG7451 CG7287

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL LI5SR 17107 AGENT COPY ACP GLKO 5664994061 978743342 35 0010160
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 30 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5664994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

124 W WHITWORTH ST

HAZLEHURST
MS390832233

009A MS-O01 95410 PAYROLL PER THOUSAND
GRADING OF LAND IF ANY 11.080 4.656

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O1OA MS-001 92478 PAYROLL PER THOUSAND
ELECTRICAL WORK - IF ANY 4.011 3.234
WITHIN BUILDINGS

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O11A MS-O0O1 94007 PAYROLL PER THOUSAND
EXCAVATION IF ANY 27.521 9.614

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

012A MS-001 98305 PAYROLL PER THOUSAND

PAINTING - INTERIOR 42,798 7.806 2.325 $334 $100
- BUILDINGS OR

STRUCTURES

CGO300 CG7004 CG7451

CG7287

124 W WHITWORTH ST

HAZLEHURST
MS390832233

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL LI5SR 17107 AGENT COPY ACP GLKO 5664994061 978743342 35 0010161
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5664994061

Document 1-1

Filed 07/15/22

Page 31 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium

Rates

Advance Premium

Basis

OTHER

PR/CO OTHER

PR/CO

013A MS-O01
CONTRACTORS - SUB-

CONTRACTED WORK - IN

CONNECTION WITH
BUILDING CONSTRUCT-

ION, RECONSTRUCTION,
REPAIR OR ERECTION -

ONE OR TWO FAMILY
DWELLINGS

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O14A MS-001
DRY WALL OR
WALLBOARD
INSTALLATION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O15A MS-O0O1
FLOOR COVERING
INSTALLATION - NOT
CERAMIC TILE OR
STONE

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

016A MS-O0O1
SIDING INSTALLATION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

91583

92338

94569

98967

COST OF WORK
104,931

PAYROLL
4,240

PAYROLL

8,264 7.357

PAYROLL
IF ANY

4.998

PER THOUSAND
1.511

3.325

PER THOUSAND
3.057 $21

PER THOUSAND
5.252 $61

PER THOUSAND
10.037

11.960

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

$159

$349

$13

$446

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

amount.

GL-DS (12-93)

DIRECT BILL LI5R 17107

AGENT COPY

ACP GLKO 5664994061

978743342

35

0010162
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5664994061

Document 1-1

Filed 07/15/22

Page 32 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium

Rates

Advance Premium

Basis

OTHER

PR/CO OTHER

PR/CO

MS-O0O1
STONE,

O17A
TILE,

STRUCTION
CG7451 CG7287

124 W WHITWORTH ST

HAZLEHURST
MS390832233

ool1c MS-001
CONTRACTORS
ENHANCEMENT PLUS

INCLUDING MEDICAL

PAYMENTS
CG7323

MARBLE,
MOSAIC OR TERRAZZO
WORK - INTERIOR CON-

99746

77504

PAYROLL
IF ANY

FLAT CHARGE

Total Advance Other and PR/CO

PER THOUSAND
5.990

5.242

$400

$1,862

TOTAL ADVANCE PREMIUM

$1,310

$3,172

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

amount.

GL-DS (12-93)

DIRECT BILL LI5R 17107

AGENT COPY

ACP GLKO 5664994061

978743342

35

0010163
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 33 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE OF INSUREDS
POLICY Number: ACP GLKO5664994061 POLICY Period: From 04-08-17 To 04-08-18

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Insured Names

001 HUNTINGTON LUMBER & SUPPLY COMPANY, INC

003 - HUNTINGTON LUMBER & SUPPLY COMPANY, INC - DBA
004 DO IT BEST

005 HUNTINGTON ASSETS LLC

GL-DI (06-90)

DIRECT BILL LI5R 17107 AGENT COPY ACP GLKO 5664994061 978743342 35 0010164
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 34 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS

Number: ACP GLKO 5664994061 Period: From 04/08/17 To 04/08/18

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Form Date Title
CG0001 0413. COMMERCIAL GENERAL LIABILITY COVERAGE FORM
CG0300 0196 DEDUCTIBLE LIABILITY INSURANCE
CG2106 0514 EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION
CG2147 1207 EMPLOYMENT - RELATED PRACTICES EXCLUSION
CG2167 1204 FUNGI OR BACTERIA EXCLUSION
CG2170 0115 CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
CG7004 1001 SPRAY PAINTING (COVERAGE FOR OVERSPRAY)
CG7023 1096 EXCL-ASBESTOS, ELECTRO-MAGNETIC RADIATION, LEAD AND RADON
CG7033 0393 TWO OR MORE COVERAGE FORMS OR POLICIES ISSUED BY US
CG7287 1211. DEFINITION OF OCCURRENCE AMENDATORY ENDORSEMENT FOR CONSTRUCTION DEFECTS
CG7323 1216 CONTRACTORS ENHANCEMENT PLUS ENDORSEMENT INCLUDING MEDICAL PAYMENTS
CG7451 0612 CANCELLATION NOTICE MISSISSIPPI STATE BOARD OF CONTRACTORS
IL0017 1198 COMMON POLICY CONDITIONS
ILO021 0908 NUCLEAR ENERGY LIABILITY EXCLUSION
ILO282 0908 MS CHANGES - CANC & NON-RENEWAL
13614 1185 SPECIAL CONTINUATION PROVISION

IMPORTANT NOTICES

IN5017 0593 IMPORTANT NOTICE FOR RENEWAL POLICIES
IN7809 1115 DATA BREACH & IDENTITY RECOVERY SERVICES

GLDF (02-93)
DIRECT BILL LISR 17107

AGENT COPY ACP GLKO 5664994061 978743342 35 =0010165
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 35 of 57

POLICY NUMBER: COMMERCIAL GENERAL LIABILITY
CG 03 00 01 96

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

DEDUCTIBLE LIABILITY INSURANCE

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

SCHEDULE
Coverage Amount and Basis of Deductible
PER CLAIM or PER OCCURRENCE

Bodily Injury Liability $ $

OR
Property Damage Liability $ 250 $

OR
Bodily Injury Liability and/or
Property Damage Liability Combined $ $

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all "bodily injury" and "property damage", however

caused):
PAINTING

A. Our obligation under the Bodily Injury Liability and b. Under Property Damage Liability Coverage,
Property Damage Liability Coverages to pay dam- to all damages sustained by any one per-
ages on your behalf applies only to the amount of son because of "property damage"; or
damages in excess of any deductible amounts c. Under Bodily Injury Liability and/or Property
stated in the Schedule above as applicable to Damage Liability Coverage Combined, to
such coverages. all damages sustained by any one person

B. You may select a deductible amount on either a because of:
per claim or a per “occurrence” basis. Your se- (1) "Bodily injury";

lected deductible applies to the coverage option

and to the basis of the deductible indicated by the (2) "Property damage"; or

placement of the deductible amount in the Sched- (3) “Bodily injury" and "property damage"

ule above. The deductible amount stated in the combined

Schedule above applies as follows: as the result of any one "occurrence".

1. PER CLAIM BASIS. If the deductible amount If damages are claimed for care, loss of ser-
indicated in the Schedule above is on a per vices or death resulting at any time from "bodily
claim basis, that deductible applies as follows: injury", a separate deductible amount will be
a. Under Bodily Injury Liability Coverage, to all applied to each person making a claim for such

damages sustained by any one person be- damages.
cause of "bodily injury"; With respect to "property damage", person in-

cludes an organization.

CG 03 00 01 96 Copyright, Insurance Services Office, Inc., 1994 Page 1 of 2
ACP GLKO5664994061 LI5R 17107 AGENT COPY 35 0010166
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 36 of 57

CG 03 00 01 96
2. PER OCCURRENCE BASIS. If the deductible C. The terms of this insurance, including those with

amount indicated in the Schedule above is on respect to:

a "per occurrence” basis, that deductible 1. Our right and duty to defend the insured

amount applies as follows: against any "suits" seeking those damages;

a. Under Bodily Injury Liability Coverage, to all and
damages because of "bodily injury"; 2. Your duties in the event of an "occurrence",

b. Under Property Damage Liability Coverage, claim, or "suit"
to all damages because of "property dam- apply irrespective of the application of the de-
age , or a ductible amount.

c. Under Bodily Injury Liability and/or Property =D. We may pay any part or all of the deductible
Damage Liability Coverage Combined, to amount to effect settlement of any claim or "suit"
all damages because of: and, upon notification of the action taken, you shall
(1) "Bodily injury"; promptly reimburse us for such part of the de-
(2) "Property damage"; or ductible amount as has been paid by us.

(3) "Bodily injury" and "property damage"
combined
as the result of any one "occurrence", regard-
less of the number of persons or organizations
who sustain damages because of that "occur-
rence".

Page 2 of 2 Copyright, Insurance Services Office, Inc., 1994 CG 03 00 01 96
ACP GLKO5664994061 LISR 17107 AGENT COPY 35 0010167
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 37 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO 82639
ONE NATIONWIDE PLAZA RENEWAL
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY DECLARATIONS

Policy Number: ACP GLKO 5674994061

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC
- SEE NAMED INSURED SCHEDULE

Address: PO BOX 47

HAZLEHURST MS 39083-0047
Agent: The Nowell Agency, Inc. 23-82639-063
Address: BRANDON MS 39047 PRODUCER: THE NOWELL AGENCY INC

Policy Period: From 04/08/18 to 04/08/19 12:01 A.M. standard time at the address of the named insured as stated
herein.

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

LIMITS OF INSURANCE

GENERAL AGGREGATE LIMIT (other than roducts-completed operations) $ 2,000,000
PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT $ 2,000,000
PERSONAL AND ADVERTISING INJURY LIMIT $ 1,000,000
EACH OCCURRENCE LIMIT $ 1,000,000
DAMAGE TO PREMISES RENTED TO YOU LIMIT (any one premises) $ 100,000
MEDICAL EXPENSE LIMIT (any one person) $ 5,000
Retroactive Date (CG0002 only)
The Named Insured is: CORPORATION
Business of the Named Insured is: HOME IMPROVEMENT STORE
Audit Period: ANNUAL
ENDORSEMENTS ATTACHED TO THIS POLICY
SEE COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS SCHEDULE
TOTAL AGENT COMMISSION $ 1,114.80
TOTAL ADVANCE PREMIUM $ 7,432.00

Replacement or
Renewal Number ACP GLKO 5664994061

Countersigned By

Authorized Representative
GL-D (10-98)
DIRECT BILL L72B 18087 Comm. 1500 AGENT COPY ACP GLKO 5674994061 978743342 35 0008198
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO

ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5674994061

Document 1-1

Filed 07/15/22 Page 38 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium

Rates

Advance Premium

Basis

OTHER

PR/CO OTHER PR/CO

OO1A MS-O01
CARPENTRY - CON-
STRUCTION OF RESI-
DENTIAL PROPERTY NOT
EXCEEDING THREE
STORIES IN HEIGHT

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

002A MS-O001
CONCRETE CONSTRUCT -

91340

91560

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OO3A MS-001

DRIVEWAY, PARKING
AREA OR SIDEWALK -
PAVING OR REPAVING

CG7004 CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

004A MS-001
FENCE ERECTION
CONTRACTORS

92215

94276

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

PAYROLL

65,440

PAYROLL
IF ANY

PAYROLL
IF ANY

PAYROLL
IF ANY

PER THOUSAND
14.517

15.321 $950 $1,002

PER THOUSAND
18.612

8.575

PER THOUSAND
9.989

4.590

PER THOUSAND
11.954

8.834

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

amount.

GL-DS (12-93)

DIRECT BILL L72B 18087

AGENT COPY

ACP GLKO 5674994061 978743342 35

0008199
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 39 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5674994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

OO5A MS-O01 97047 PAYROLL PER THOUSAND
LANDSCAPE GARDENING IF ANY 9.267
PRODUCTS-COMPLETED

OPERATIONS ARE

SUBJECT TO THE

GENERAL AGGREGATE

LIMIT

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OOGA MS-001 98483 PAYROLL PER THOUSAND
PLUMBING - RESIDEN- IF ANY 14.628 31.425
TIAL OR DOMESTIC

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OO7A MS-O01 95647 PAYROLL PER THOUSAND
HEATING OR COMBINED IF ANY &.400 10.535
HEATING AND AIR

CONDITIONING SYS-

TEMS OR EQUIPMENT-

DEALERS OR DISTRIBU-

TORS AND INSTALL-

ATION, SERVICING OR

REPAIR-NO LIQUIFIED

PETROLEUM GAS (LPG)

EQUIPMENT SALES OR

WORK

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

008A MS-001 98884 PAYROLL PER THOUSAND

SHEET METAL WORK - IF ANY 6.644 3.530
OUTSIDE

CG7451 CG7287

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL L72B 18087 AGENT COPY ACP GLKO 5674994061 978743342 35 0008200
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 40 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5674994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

124 W WHITWORTH ST

HAZLEHURST
MS390832233

009A MS-O01 95410 PAYROLL PER THOUSAND
GRADING OF LAND IF ANY 11.523 4.842

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O1OA MS-001 92478 PAYROLL PER THOUSAND
ELECTRICAL WORK - IF ANY 4.171 3.364
WITHIN BUILDINGS

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O11A MS-O0O1 94007 PAYROLL PER THOUSAND
EXCAVATION IF ANY 28.621 9.999

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

012A MS-001 98305 PAYROLL PER THOUSAND
PAINTING - INTERIOR IF ANY 8.119 2.419
- BUILDINGS OR

STRUCTURES

CGO300 CG7004 CG7451

CG7287

124 W WHITWORTH ST

HAZLEHURST
MS390832233

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL L72B 18087 AGENT COPY ACP GLKO 5674994061 978743342 35 0008201
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5674994061

Document 1-1

Filed 07/15/22

Page 41 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium

Rates

Advance Premium

Basis

OTHER

PR/CO OTHER

PR/CO

013A MS-O01
CONTRACTORS - SUB-

CONTRACTED WORK - IN

CONNECTION WITH
BUILDING CONSTRUCT-

ION, RECONSTRUCTION,
REPAIR OR ERECTION -

ONE OR TWO FAMILY
DWELLINGS

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O14A MS-001
DRY WALL OR
WALLBOARD
INSTALLATION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O15A MS-O0O1
FLOOR COVERING
INSTALLATION - NOT
CERAMIC TILE OR
STONE

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

016A MS-O0O1
SIDING INSTALLATION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

91583

92338

94569

98967

COST OF WORK
435,250

PAYROLL
3,951

PAYROLL

6,000 7.651

PAYROLL
IF ANY

5.198

PER THOUSAND
1.497

3.294

PER THOUSAND
3.179 $21

PER THOUSAND
5.463 $47

PER THOUSAND
10.438

12.437

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

$652

$1,434

$12

$32

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

amount.

GL-DS (12-93)

DIRECT BILL L72B 18087

AGENT COPY

ACP GLKO 5674994061

978743342

35

0008202
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO

ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

Document 1-1

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5674994061

Filed 07/15/22

Page 42 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium
Basis

Rates

Advance Premium

OTHER PR/CO

OTHER PR/CO

O17A MS-O0O1 99746
TILE, STONE, MARBLE,
MOSAIC OR TERRAZZO

WORK - INTERIOR CON-
STRUCTION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

018A MS-001 97447
MASONRY

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

019A MS-O01 986738
ROOFING - RESIDEN-

TIAL - THREE STORIES

AND UNDER

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

oo1c MS-001 77504
CONTRACTORS

ENHANCEMENT PLUS

INCLUDING MEDICAL

PAYMENTS

CG7323

amount.

GL-DS (12-93)
DIRECT BILL L72B 18087

PAYROLL
2,460

PAYROLL
55,531

PAYROLL

?

FLAT CHARGE

Total Advance Other and PR/CO

AGENT COPY

PER THOUSAND
6.229 5.451

PER THOUSAND
8.573 7.928

PER THOUSAND
40.405 28.461

$15 $13

$476 $440

$1,137 $801

$400

$3,698 $3,734

TOTAL ADVANCE PREMIUM $7,432
NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

ACP GLKO 5674994061 978743342 35 0008203
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 43 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE OF INSUREDS
POLICY Number: ACP GLKO5674994061 POLICY Period: From 04-08-18 To 04-08-19

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Insured Names

001 HUNTINGTON LUMBER & SUPPLY COMPANY, INC

003 - HUNTINGTON LUMBER & SUPPLY COMPANY, INC - DBA
004 DO IT BEST

005 HUNTINGTON ASSETS LLC

GL-DI (06-90)

DIRECT BILL L72B 18087 AGENT COPY ACP GLKO 5674994061 978743342 35 0008204
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 44 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS

Number: ACP GLKO 5674994061 Period: From 04/08/18 To 04/08/19
Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Form Date Title
CG0001 0413. COMMERCIAL GENERAL LIABILITY COVERAGE FORM
CG0300 0196 DEDUCTIBLE LIABILITY INSURANCE
CG2106 0514 EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION
CG2147 1207 EMPLOYMENT - RELATED PRACTICES EXCLUSION
CG2167 1204 FUNGI OR BACTERIA EXCLUSION
CG2170 0115 CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
CG7004 1001 SPRAY PAINTING (COVERAGE FOR OVERSPRAY)
CG7023 1096 EXCL-ASBESTOS, ELECTRO-MAGNETIC RADIATION, LEAD AND RADON
CG7033 0393 TWO OR MORE COVERAGE FORMS OR POLICIES ISSUED BY US
CG7287 1211. DEFINITION OF OCCURRENCE AMENDATORY ENDORSEMENT FOR CONSTRUCTION DEFECTS
CG7323 1216 CONTRACTORS ENHANCEMENT PLUS ENDORSEMENT INCLUDING MEDICAL PAYMENTS
CG7451 0612 CANCELLATION NOTICE MISSISSIPPI STATE BOARD OF CONTRACTORS
IL0017 1198 COMMON POLICY CONDITIONS
ILO021 0908 NUCLEAR ENERGY LIABILITY EXCLUSION
ILO282 0908 MS CHANGES - CANC & NON-RENEWAL

IMPORTANT NOTICES

IN5017 0593. IMPORTANT NOTICE FOR RENEWAL POLICIES
IN7809 1115 DATA BREACH & IDENTITY RECOVERY SERVICES

GLDF (02-93)
DIRECT BILL L72B 18087 AGENT COPY ACP GLKO 5674994061 978743342 35 0008205
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 45 of 57

POLICY NUMBER: COMMERCIAL GENERAL LIABILITY
CG 03 00 01 96

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

DEDUCTIBLE LIABILITY INSURANCE

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

SCHEDULE
Coverage Amount and Basis of Deductible
PER CLAIM or PER OCCURRENCE

Bodily Injury Liability $ $

OR
Property Damage Liability $ 250 $

OR
Bodily Injury Liability and/or
Property Damage Liability Combined $ $

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all "bodily injury" and "property damage", however

caused):
PAINTING

A. Our obligation under the Bodily Injury Liability and b. Under Property Damage Liability Coverage,
Property Damage Liability Coverages to pay dam- to all damages sustained by any one per-
ages on your behalf applies only to the amount of son because of "property damage"; or
damages in excess of any deductible amounts c. Under Bodily Injury Liability and/or Property
stated in the Schedule above as applicable to Damage Liability Coverage Combined, to
such coverages. all damages sustained by any one person

B. You may select a deductible amount on either a because of:
per claim or a per “occurrence” basis. Your se- (1) "Bodily injury";

lected deductible applies to the coverage option

and to the basis of the deductible indicated by the (2) "Property damage"; or

placement of the deductible amount in the Sched- (3) “Bodily injury" and "property damage"

ule above. The deductible amount stated in the combined

Schedule above applies as follows: as the result of any one "occurrence".

1. PER CLAIM BASIS. If the deductible amount If damages are claimed for care, loss of ser-
indicated in the Schedule above is on a per vices or death resulting at any time from "bodily
claim basis, that deductible applies as follows: injury", a separate deductible amount will be
a. Under Bodily Injury Liability Coverage, to all applied to each person making a claim for such

damages sustained by any one person be- damages.
cause of "bodily injury"; With respect to "property damage", person in-

cludes an organization.

CG 03 00 01 96 Copyright, Insurance Services Office, Inc., 1994 Page 1 of 2
ACP GLKO5674994061 L72B 18087 AGENT COPY 35 0008206
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 46 of 57

CG 03 00 01 96
2. PER OCCURRENCE BASIS. If the deductible C. The terms of this insurance, including those with

amount indicated in the Schedule above is on respect to:

a "per occurrence” basis, that deductible 1. Our right and duty to defend the insured

amount applies as follows: against any "suits" seeking those damages;

a. Under Bodily Injury Liability Coverage, to all and
damages because of "bodily injury"; 2. Your duties in the event of an "occurrence",

b. Under Property Damage Liability Coverage, claim, or "suit"
to all damages because of "property dam- apply irrespective of the application of the de-
age , or a ductible amount.

c. Under Bodily Injury Liability and/or Property =D. We may pay any part or all of the deductible
Damage Liability Coverage Combined, to amount to effect settlement of any claim or "suit"
all damages because of: and, upon notification of the action taken, you shall
(1) "Bodily injury"; promptly reimburse us for such part of the de-
(2) "Property damage"; or ductible amount as has been paid by us.

(3) "Bodily injury" and "property damage"
combined
as the result of any one "occurrence", regard-
less of the number of persons or organizations
who sustain damages because of that "occur-
rence".

Page 2 of 2 Copyright, Insurance Services Office, Inc., 1994 CG 03 00 01 96
ACP GLKO5674994061 L72B 18087 AGENT COPY 35 0008207
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 47 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO 82639
ONE NATIONWIDE PLAZA RENEWAL
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY DECLARATIONS

Policy Number: ACP GLKO 5684994061

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC
- SEE NAMED INSURED SCHEDULE

Address: PO BOX 47

HAZLEHURST MS 39083-0047
Agent: The Nowell Agency, Inc. 23-82639-063
Address: BRANDON MS 39047 PRODUCER: THE NOWELL AGENCY INC

Policy Period: From 04/08/19 to 04/08/20 12:01 A.M. standard time at the address of the named insured as stated
herein.

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

LIMITS OF INSURANCE

GENERAL AGGREGATE LIMIT (other than roducts-completed operations) $ 2,000,000
PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT $ 2,000,000
PERSONAL AND ADVERTISING INJURY LIMIT $ 1,000,000
EACH OCCURRENCE LIMIT $ 1,000,000
DAMAGE TO PREMISES RENTED TO YOU LIMIT (any one premises) $ 100,000
MEDICAL EXPENSE LIMIT (any one person) $ 5,000
Retroactive Date (CG0002 only)
The Named Insured is: CORPORATION
Business of the Named Insured is: HOME IMPROVEMENT STORE
Audit Period: ANNUAL
ENDORSEMENTS ATTACHED TO THIS POLICY
SEE COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS SCHEDULE
TOTAL AGENT COMMISSION $ 1,491.30
TOTAL ADVANCE PREMIUM $ 9,942.00

Replacement or
Renewal Number ACP GLKO5674994061

Countersigned By

Authorized Representative
GL-D (10-98)
DIRECT BILL L773 19100 Comm. 1500 AGENT COPY ACP GLKO 5684994061 978743342 35 0006162
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

Document 1-1

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5684994061

Filed 07/15/22

Page 48 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium
Basis

Rates

Advance Premium

OTHER PR/CO

OTHER PR/CO

OO1A MS-O01
CARPENTRY - CON-

STRUCTION OF RESI-
DENTIAL PROPERTY NOT

EXCEEDING THREE

STORIES IN HEIGHT

CG7451 CG7287

124 W WHITWORTH ST

HAZLEHURST
MS390832233

002A MS-001

CONCRETE CONSTRUCT-

ION

CG7451 CG7287

124 W WHITWORTH ST

HAZLEHURST
MS390832233

OO3A MS-001

DRIVEWAY, PARKING
AREA OR SIDEWALK -
PAVING OR REPAVING

CG7004 CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

004A MS-001

FENCE ERECTION
CONTRACTORS

CG7451 CG7287

124 W WHITWORTH ST

HAZLEHURST
MS390832233

amount.

GL-DS (12-93)

DIRECT BILL L773 19100

91340

91560

92215

94276

PAYROLL
112,521

PAYROLL

?

PAYROLL
IF ANY

PAYROLL
IF ANY

Total Advance Other and PR/CO

AGENT COPY

PER THOUSAND
17.489 16.563

PER THOUSAND
20.549 8.239

PER THOUSAND
11.276 5.482

PER THOUSAND
13.553 10.278

$1,968 $1,864

$821 $329

TOTAL ADVANCE PREMIUM
NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

ACP GLKO 5684994061

978743342 35

0006163
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 49 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5684994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

OO5A MS-O01 97047 PAYROLL PER THOUSAND
LANDSCAPE GARDENING IF ANY 11.163
PRODUCTS-COMPLETED

OPERATIONS ARE

SUBJECT TO THE

GENERAL AGGREGATE

LIMIT

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OOGA MS-001 98483 PAYROLL PER THOUSAND
PLUMBING - RESIDEN- 30,000 16.574 34.805 $498 $1,044
TIAL OR DOMESTIC

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

OO7A MS-O01 95647 PAYROLL PER THOUSAND
HEATING OR COMBINED IF ANY 8.521 9.628
HEATING AND AIR

CONDITIONING SYS-

TEMS OR EQUIPMENT-

DEALERS OR DISTRIBU-

TORS AND INSTALL-

ATION, SERVICING OR

REPAIR-NO LIQUIFIED

PETROLEUM GAS (LPG)

EQUIPMENT SALES OR

WORK

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

008A MS-001 98884 PAYROLL PER THOUSAND

SHEET METAL WORK - IF ANY 7.533 3.406
OUTSIDE

CG7451 CG7287

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL L773 19100 AGENT COPY ACP GLKO 5684994061 978743342 35 0006164
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 50 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5684994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

124 W WHITWORTH ST

HAZLEHURST
MS390832233

009A MS-O01 95410 PAYROLL PER THOUSAND
GRADING OF LAND IF ANY 13.063 5.107

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O1OA MS-001 92478 PAYROLL PER THOUSAND
ELECTRICAL WORK - 30,000 4.745 3.847 $143 $116
WITHIN BUILDINGS

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O11A MS-O0O1 94007 PAYROLL PER THOUSAND
EXCAVATION IF ANY 32.340 9.669

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

012A MS-001 98305 PAYROLL PER THOUSAND

PAINTING - INTERIOR 10,340 9.787 2.807 $101 $29
- BUILDINGS OR

STRUCTURES

CGO300 CG7004 CG7451

CG7287

124 W WHITWORTH ST

HAZLEHURST
MS390832233

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL L773 19100 AGENT COPY ACP GLKO 5684994061 978743342 35 0006165
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5684994061

Document 1-1

Filed 07/15/22

Page 51 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium

Rates

Advance Premium

Basis

OTHER

PR/CO OTHER

PR/CO

013A MS-O01
CONTRACTORS - SUB-

CONTRACTED WORK - IN

CONNECTION WITH
BUILDING CONSTRUCT-

ION, RECONSTRUCTION,
REPAIR OR ERECTION -

ONE OR TWO FAMILY
DWELLINGS

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O14A MS-001
DRY WALL OR
WALLBOARD
INSTALLATION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

O15A MS-O0O1
FLOOR COVERING
INSTALLATION - NOT
CERAMIC TILE OR
STONE

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

016A MS-O0O1
SIDING INSTALLATION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

91583

92338

94569

98967

COST OF WORK
140,427

PAYROLL
7,005

PAYROLL

PAYROLL
IF ANY

5.888

PER THOUSAND
2.085

3.794

PER THOUSAND
3.510 $42

PER THOUSAND
13,891 8.660

5.558

PER THOUSAND
11.825

14.924

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

$293

$121

$533

$25

$77

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

amount.

GL-DS (12-93)

DIRECT BILL L773 19100

AGENT COPY

ACP GLKO 5684994061

978743342

35

0006166
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 52 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5684994061

Item No., Location . :
and Description Code Premium Rates Advance Premium

of Hazards No. Basis OTHER PRICO OTHER PRICO

O17A MS-O0O1 99746 PAYROLL PER THOUSAND
TILE, STONE, MARBLE, IF ANY 7.064 5.970
MOSAIC OR TERRAZZO

WORK - INTERIOR CON-

STRUCTION

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

018A MS-001 97447 PAYROLL PER THOUSAND
MASONRY 36,795 9.464 9.648 $349 $355

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

019A MS-O01 986738 PAYROLL PER THOUSAND

ROOFING - RESIDEN- 4,992 45.743 29.637 $228 $148
TIAL - THREE STORIES

AND UNDER

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

020A MS-001 91436 PAYROLL PER THOUSAND

CEILING OR WALL 17,396 15.064 5.864 $262 $103
INSTALLATION - METAL

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

Total Advance Other and PR/CO

TOTAL ADVANCE PREMIUM

NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed
amount.

GL-DS (12-93)
DIRECT BILL L773 19100 AGENT COPY ACP GLKO 5684994061 978743342 35 0006167
Case 3:22-cv-00403-CWR-LGI

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

Document 1-1

COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number: ACP GLKO 5684994061

Filed 07/15/22

Page 53 of 57

Item No., Location
and Description
of Hazards

Code
No.

Premium
Basis

Rates

Advance Premium

OTHER PR/CO

OTHER PR/CO

021A MS-O001
JANITORIAL SERVICES
PRODUCTS-COMPLETED
OPERATIONS ARE
SUBJECT TO THE
GENERAL AGGREGATE
LIMIT

CG7451 CG7287
124 W WHITWORTH ST

HAZLEHURST
MS390832233

ool1c MS-001
CONTRACTORS
ENHANCEMENT PLUS
INCLUDING MEDICAL
PAYMENTS

CG7323

amount.

GL-DS (12-93)
DIRECT BILL L773 19100

96816

77504

PAYROLL
7,628

FLAT CHARGE
310,499

Total Advance Other and PR/CO

AGENT COPY

PER THOUSAND
12.212

$93

$400

$5,319 $4,623

TOTAL ADVANCE PREMIUM $9,942
NOTE: For classes based on payroll each Executive Officer, Sole Proprietor or Partner may be subject to a fixed

ACP GLKO 5684994061 978743342 35

0006168
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 54 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY SCHEDULE OF INSUREDS
POLICY Number: ACP GLKO5684994061 POLICY Period: From 04-08-19 To 04-08-20

Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Insured Names

001 HUNTINGTON LUMBER & SUPPLY COMPANY, INC

003 - HUNTINGTON LUMBER & SUPPLY COMPANY, INC - DBA
004 DO IT BEST

005 HUNTINGTON ASSETS LLC

GL-DI (06-90)

DIRECT BILL L773 19100 AGENT COPY ACP GLKO 5684994061 978743342 35 0006169
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 55 of 57

NATIONWIDE PROPERTY & CASUALTY INS CO
ONE NATIONWIDE PLAZA
COLUMBUS, OH 43215-2220

COMMERCIAL GENERAL LIABILITY FORMS AND ENDORSEMENTS

Number: ACP GLKO 5684994061 Period: From 04/08/19 To 04/08/20
Named Insured: HUNTINGTON LUMBER & SUPPLY COMPANY, INC

Form Date Title
CG0001 0413. COMMERCIAL GENERAL LIABILITY COVERAGE FORM
CG0300 0196 DEDUCTIBLE LIABILITY INSURANCE
CG2106 0514 EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION
CG2147 1207 EMPLOYMENT - RELATED PRACTICES EXCLUSION
CG2167 1204 FUNGI OR BACTERIA EXCLUSION
CG2170 0115 CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
CG7004 1001 SPRAY PAINTING (COVERAGE FOR OVERSPRAY)
CG7023 1096 EXCL-ASBESTOS, ELECTRO-MAGNETIC RADIATION, LEAD AND RADON
CG7033 0393 TWO OR MORE COVERAGE FORMS OR POLICIES ISSUED BY US
CG7287 1211. DEFINITION OF OCCURRENCE AMENDATORY ENDORSEMENT FOR CONSTRUCTION DEFECTS
CG7323 1216 CONTRACTORS ENHANCEMENT PLUS ENDORSEMENT INCLUDING MEDICAL PAYMENTS
CG7451 0612 CANCELLATION NOTICE MISSISSIPPI STATE BOARD OF CONTRACTORS
IL0017 1198 COMMON POLICY CONDITIONS
ILO021 0908 NUCLEAR ENERGY LIABILITY EXCLUSION
ILO282 0908 MS CHANGES - CANC & NON-RENEWAL

IMPORTANT NOTICES

IN5017 0593. IMPORTANT NOTICE FOR RENEWAL POLICIES
IN7809 1115 DATA BREACH & IDENTITY RECOVERY SERVICES

GLDF (02-93)
DIRECT BILL L773 19100 AGENT COPY ACP GLKO 5684994061 978743342 35 0006170
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 56 of 57

POLICY NUMBER: COMMERCIAL GENERAL LIABILITY
CG 03 00 01 96

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

DEDUCTIBLE LIABILITY INSURANCE

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

SCHEDULE
Coverage Amount and Basis of Deductible
PER CLAIM or PER OCCURRENCE

Bodily Injury Liability $ $

OR
Property Damage Liability $ 250 $

OR
Bodily Injury Liability and/or
Property Damage Liability Combined $ $

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all "bodily injury" and "property damage", however

caused):
PAINTING

A. Our obligation under the Bodily Injury Liability and b. Under Property Damage Liability Coverage,
Property Damage Liability Coverages to pay dam- to all damages sustained by any one per-
ages on your behalf applies only to the amount of son because of "property damage"; or
damages in excess of any deductible amounts c. Under Bodily Injury Liability and/or Property
stated in the Schedule above as applicable to Damage Liability Coverage Combined, to
such coverages. all damages sustained by any one person

B. You may select a deductible amount on either a because of:
per claim or a per “occurrence” basis. Your se- (1) "Bodily injury";

lected deductible applies to the coverage option

and to the basis of the deductible indicated by the (2) "Property damage"; or

placement of the deductible amount in the Sched- (3) “Bodily injury" and "property damage"

ule above. The deductible amount stated in the combined

Schedule above applies as follows: as the result of any one "occurrence".

1. PER CLAIM BASIS. If the deductible amount If damages are claimed for care, loss of ser-
indicated in the Schedule above is on a per vices or death resulting at any time from "bodily
claim basis, that deductible applies as follows: injury", a separate deductible amount will be
a. Under Bodily Injury Liability Coverage, to all applied to each person making a claim for such

damages sustained by any one person be- damages.
cause of "bodily injury"; With respect to "property damage", person in-

cludes an organization.

CG 03 00 01 96 Copyright, Insurance Services Office, Inc., 1994 Page 1 of 2
ACP GLKO5684994061 L773 19100 AGENT COPY 35 0006171
Case 3:22-cv-00403-CWR-LGI Document1-1 Filed 07/15/22 Page 57 of 57

CG 03 00 01 96
2. PER OCCURRENCE BASIS. If the deductible C. The terms of this insurance, including those with

amount indicated in the Schedule above is on respect to:

a "per occurrence” basis, that deductible 1. Our right and duty to defend the insured

amount applies as follows: against any "suits" seeking those damages;

a. Under Bodily Injury Liability Coverage, to all and
damages because of "bodily injury"; 2. Your duties in the event of an "occurrence",

b. Under Property Damage Liability Coverage, claim, or "suit"
to all damages because of "property dam- apply irrespective of the application of the de-
age , or a ductible amount.

c. Under Bodily Injury Liability and/or Property =D. We may pay any part or all of the deductible
Damage Liability Coverage Combined, to amount to effect settlement of any claim or "suit"
all damages because of: and, upon notification of the action taken, you shall
(1) "Bodily injury"; promptly reimburse us for such part of the de-
(2) "Property damage"; or ductible amount as has been paid by us.

(3) "Bodily injury" and "property damage"
combined
as the result of any one "occurrence", regard-
less of the number of persons or organizations
who sustain damages because of that "occur-
rence".

Page 2 of 2 Copyright, Insurance Services Office, Inc., 1994 CG 03 00 01 96
ACP GLKO5684994061 L773 19100 AGENT COPY 35 0006172
